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                AGs United For Clean Power Press Conference*
                             March 29, 2016: 11:35 am – 12:32 pm


AG Schneiderman: Thank you, good morning. I’m New York’s Attorney General,
                 Eric Schneiderman. I thank you for joining us here today for what
                 we believe and hope will mark a significant milestone in our
                 collective efforts to deal with the problem of climate change and
                 put our heads together and put our offices together to try and take
                 the most coordinated approach yet undertaken by states to deal
                 with this most pressing issue of our time. I want to thank my co-
                 convener of the conference, Vermont Attorney General, William
                 Sorrel, who has been helping in joining us here and been
                 instrumental in making today’s events possible, and my fellow
                 attorneys general for making the trip to New York for this
                 announcement. Many of them had been working for years on
                 different aspects of this problem to try and preserve our planet and
                 reduce the carbon emissions that threaten all of the people we
                 represent. And I’m very proud to be here today with Attorney
                 General George Jepsen of Connecticut, Attorney General Brian
                 Frosh of Maryland, Attorney General Maura Healey of
                 Massachusetts, Attorney General Mark Herring of Virginia, and
                 Attorney General Claude Walker of the U.S. Virgin Islands.

                        We also have staff representing other attorneys general from across
                        the country, including: Attorney General Kamala Harris of
                        California, Matt Denn of Delaware, Karl Racine of the District of
                        Columbia, Lisa Madigan of Illinois, Tom Miller of Iowa, Janet
                        Mills of Maine, Lori Swanson of Minnesota, Hector Balderas of
                        New Mexico, Ellen Rosenblum of Oregon, Peter Kilmartin of
                        Rhode Island and Bob Ferguson of Washington.

                        And finally, I want to extend my sincere thanks to Vice President
                        Al Gore for joining us. It has been almost ten years since he
                        galvanized the world’s attention on climate change with his
                        documentary An Inconvenient Truth.

                        And, I think it’s fair to say that no one in American public life
                        either during or beyond their time in elective office has done more
                        to elevate the debate of our climate change or to expand global
                        awareness about the urgency of the need for collective action on
                        climate change than Vice President Gore. So it’s truly an honor to
                        have you here with us today.

*
    The following transcript of the AGs United For Clean Power Press Conference, held on March 29,
    2016, was prepared by counsel based on a video recording of the event, which is available at
    http://www.ag.ny.gov/press-release/ag-schneiderman-former-vice-president-al-gore-and-coalition-
    attorneys-general-across.




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              So we’ve gathered here today for a conference – the first of its
              kind conference of attorneys general dedicated to coming up with
              creative ways to enforce laws being flouted by the fossil fuel
              industry and their allies in their short-sighted efforts to put profits
              above the interests of the American people and the integrity of our
              financial markets. This conference reflects our commitment to
              work together in what is really an unprecedented multi-state effort
              in the area of climate change. Now, we have worked together on
              many matters before and I am pleased to announce that many of
              the folks represented here were on the Amicus Brief we submitted
              to the United States Supreme Court in the Friedrichs v. California
              Teacher Association case. We just got the ruling that there was a
              four-four split so that the American labor movement survives to
              fight another day. And thanks, thanks to all for that effort and
              collaboration. It shows what we can do if we work together. And
              today we are here spending a day to ensure that this most important
              issue facing all of us, the future of our planet, is addressed by a
              collective of states working as creatively, collaboratively and
              aggressively as possible.

              The group here was really formed when some of us came together
              to defend the EPA’s Clean Power Plan, the new rules on
              greenhouse gases. And today also marks the day that our coalition
              is filing our brief in the Court of Appeals for the District of
              Columbia. In that important matter we were defending the EPA’s
              rules. There is a coalition of other states on the other side trying to
              strike down the rules, but the group that started out in that matter
              together was 18 states and the District of Columbia. We call
              ourselves The Green 19, but now that Attorney General Walker of
              the Virgin Islands has joined us our rhyme scheme is blown. We
              can’t be called The Green 19, so now we’re The Green 20. We’ll
              come up with a better name at some point.

              But, ladies and gentlemen, we are here for a very simple reason.
              We have heard the scientists. We know what’s happening to the
              planet. There is no dispute but there is confusion, and confusion
              sowed by those with an interest in profiting from the confusion and
              creating misperceptions in the eyes of the American public that
              really need to be cleared up. The U.S. Defense Department, no
              radical agency, recently called climate change an urgent and
              growing threat to our national security. We know that last month,
              February, was the furthest above normal for any month in history
              since 1880 when they started keeping meteorological records. The


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              facts are evident. This is not a problem ten years or twenty years
              in the future. [There are] people in New York who saw what
              happened with the additional storm surge with Super Storm Sandy.
              We know the water level in New York Harbor is almost a foot
              higher than it was. The New York State Department of
              Environmental Conservation, not some radical agency, predicts
              that if we continue at this pace, we’ll have another 1.5 feet of water
              in New York Harbor. It’ll go up by that much in 2050. So today,
              in the face of the gridlock in Washington, we are assembling a
              group of state actors to send the message that we are prepared to
              step into this breach. And one thing we hope all reasonable people
              can agree on is that every fossil fuel company has a responsibility
              to be honest with its investors and with the public about the
              financial and market risks posed by climate change. These are
              cornerstones of our securities and consumer protection laws.

              My office reached a settlement last year based on the enforcement
              of New York securities laws with Peabody Energy. And they
              agreed to rewrite their financials because they had been misleading
              investors and the public about the threat to their own business plan
              and about the fact that they had very detailed analysis telling them
              how the price of coal would be going down in the face of actions
              taken by governments around the world. But they were hiding it
              from their investors. So they agreed to revise all of their filings
              with the SEC. And the same week we announced that, we
              announced that we had served a subpoena on ExxonMobil
              pursuing that and other theories relating to consumer and securities
              fraud. So we know, because of what’s already out there in the
              public, that there are companies using the best climate science.
              They are using the best climate models so that when they spend
              shareholder dollars to raise their oil rigs, which they are doing,
              they know how fast the sea level is rising. Then they are drilling in
              places in the Arctic where they couldn’t drill 20 years ago because
              of the ice sheets. They know how fast the ice sheets are receding.
              And yet they have told the public for years that there were no
              “competent models,” was the specific term used by an Exxon
              executive not so long ago, no competent models to project climate
              patterns, including those in the Arctic. And we know that they
              paid millions of dollars to support organizations that put out
              propaganda denying that we can predict or measure the effects of
              fossil fuel on our climate, or even denying that climate change was
              happening.



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                  There have been those who have raised the question: aren’t you
                  interfering with people’s First Amendment rights? The First
                  Amendment, ladies and gentlemen, does not give you the right to
                  commit fraud. And we are law enforcement officers, all of us do
                  work, every attorney general does work on fraud cases. And we
                  are pursuing this as we would any other fraud matter. You have to
                  tell the truth. You can’t make misrepresentations of the kinds
                  we’ve seen here.

                  And the scope of the problem we’re facing, the size of the
                  corporate entities and their alliances and trade associations and
                  other groups is massive and it requires a multi-state effort. So I am
                  very honored that my colleagues are here today assembling with
                  us. We know that in Washington there are good people who want
                  to do the right thing on climate change but everyone from
                  President Obama on down is under a relentless assault from well-
                  funded, highly aggressive and morally vacant forces that are trying
                  to block every step by the federal government to take meaningful
                  action. So today, we’re sending a message that, at least some of us
                  – actually a lot of us – in state government are prepared to step into
                  this battle with an unprecedented level of commitment and
                  coordination.

                  And now I want to turn it over to my great colleague, the co-
                  convener of this conference, Vermont Attorney General William
                  Sorrel.

AG Sorrel:        I am pleased that the small state of Vermont joins with the big state
                  of New York and are working together to make this gathering
                  today a reality. Truth is that states, large and small, have critical
                  roles to play in addressing environmental quality issues. General
                  Schneiderman has mentioned our filing today in the D.C. Circuit
                  on the Clean Power Plan case. Going back some time, many of the
                  states represented here joined with the federal government suing
                  American Electric Power Company, the company operating several
                  coal-fired electric plants in the Midwest and largely responsible for
                  our acid rain and other air quality issues in the eastern part of the
                  United States, ultimately resulting in what I believe to date is the
                  largest settlement in an environmental case in our country’s
                  history. With help from a number of these states, we successfully
                  litigated Vermont’s adoption of the so-called California standard
                  for auto emissions in federal court in Vermont, now the standard in
                  the country. And right down to the present day, virtually all of the


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                    states represented today are involved in looking at the alleged
                    actions by Volkswagen and the issues relating to emissions from
                    tens of thousands of their diesel automobiles.

                    But today we’re talking about climate change which I don’t think
                    there’s any doubt, at least in our ranks, is the environmental issue
                    of our time. And in order for us to effectively address this issue,
                    it’s going to take literally millions of decisions and actions by
                    countries, by states, by communities and by individuals. And, just
                    very briefly, Vermont is stepping up and doing its part. Our
                    legislature has set goals of 75% reduction – looking from a 1990
                    base line – a 75% reduction in greenhouse gas emissions by 2050.
                    Similarly, our electric utilities have a goal of 75% use of renewable
                    energy sources by 2032. So, we’ve been doing our part. Our
                    presence here today is to pledge to continue to do our part. I’m
                    mindful of the fact that I’m between you and the real rock star on
                    this issue, and so I’m going to turn it back to General
                    Schneiderman to introduce the next speaker.

AG Schneiderman: Thank you. Thank you. I’m not really a rock star.

                                     [Laughter]

                    Thank you Bill. It’s always a pleasure to have someone here from
                    a state whose U.S. senator is from Brooklyn.

                                     [Laughter]

                    And doing pretty well for himself. So, Vice President Gore has a
                    very busy schedule. He has been traveling internationally, raising
                    the alarm but also training climate change activists. He rearranged
                    his schedule so he could be here with us to day to meet with my
                    colleagues and I. And there is no one who has done more for this
                    cause, and it is a great pleasure to have him standing shoulder to
                    shoulder with us as we embark on this new round in what we hope
                    will be the beginning of the end of our addiction to fossil fuel and
                    our degradation of the planet. Vice President Al Gore.

VP Gore:            Thank you very much, Eric. Thank you. Thank you very much.

                                     [Applause]

                    Thank you very much, Attorney General Schneiderman. It really
                    and truly is an honor for me to join you and your colleagues here,


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              Bill Sorrel of Vermont, Maura Healey of Massachusetts, Brian
              Frosh of Maryland, Mark Herring of Virginia, George Jepsen of
              Connecticut and Claude Walker from the U.S. Virgin Islands, and
              the ten (let’s see 1, 2, 3, 4, 5) how many other – ten other states . . .
              eleven other state attorneys general offices that were represented in
              the meetings that took place earlier, prior to this press conference.

              I really believe that years from now this convening by Attorney
              General Eric Schneiderman and his colleagues here today may
              well be looked back upon as a real turning point in the effort to
              hold to account those commercial interests that have been –
              according to the best available evidence – deceiving the American
              people, communicating in a fraudulent way, both about the reality
              of the climate crisis and the dangers it poses to all of us. And
              committing fraud in their communications about the viability of
              renewable energy and efficiency and energy storage that together
              are posing this great competitive challenge to the long reliance on
              carbon-based fuels. So, I congratulate you, Attorney General, and
              all of you, and to those attorneys general who were so impressively
              represented in the meetings here. This is really, really important.

              I am a fan of what President Obama has been doing, particularly in
              his second term on the climate crisis. But it’s important to
              recognize that in the federal system, the Congress has been sharply
              constraining the ability of the executive branch to fully perform its
              obligations under [the] Constitution to protect the American people
              against the kind of fraud that the evidence suggests is being
              committed by several of the fossil fuel companies, electric utilities,
              burning coal, and the like. So what these attorneys general are
              doing is exceptionally important. I remember very well – and I’m
              not going to dwell on this analogy – but I remember very well
              from my days in the House and Senate and the White House the
              long struggle against the fraudulent activities of the tobacco
              companies trying to keep Americans addicted to the deadly habit
              of smoking cigarettes and committing fraud to try to constantly
              hook each new generation of children to replenish their stock of
              customers who were dying off from smoking-related diseases.
              And it was a combined effort of the executive branch, and I’m
              proud that the Clinton-Gore administration played a role in that,
              but it was a combined effort in which the state attorneys general
              played the crucial role in securing an historic victory for public
              health. From the time the tobacco companies were first found out,
              as evidenced by the historic attorney generals’ report of 1964, it


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              took 40 years for them to be held to account under the law. We do
              not have 40 years to continue suffering the consequences of the
              fraud allegedly being committed by the fossil fuel companies
              where climate change is concerned.

              In brief, there are only three questions left to be answered about
              the climate crisis. The first one is: Must we change, do we really
              have to change? We rely on fossil fuels for more than 80% of all
              the energy our world uses. In burning it we’ve reduced poverty
              and raised standards of living and built this elaborate global
              civilization, and it looks like it’ll be hard to change. So naturally,
              people wonder: Do we really have to change? The scientific
              community has been all but unanimous for a long time now. But
              now mother nature and the laws of physics – harder to ignore than
              scientists – are making it abundantly clear that we have to change.
              We’re putting 110 million tons of man-made heat trapping global
              warming pollution into the thin shell of atmosphere surrounding
              our planet every day, as if it’s an open sewer. And the cumulative
              amount of that man-made global warming pollution now traps as
              much extra heat energy in the earth’s system as would be released
              by 400,000 Hiroshima-class atomic bombs exploding every 24
              hours on the surface of our planet.

              It’s a big planet, but that’s a lot of energy. And it is the reason
              why temperatures are breaking records almost every year now.
              2015 was the hottest year measured since instruments had been
              used to measure temperature. 2014 was the second hottest. 14 of
              the 15 hottest have been in the last 15 years. As the Attorney
              General mentioned, February continues the trend by breaking all
              previous records – the hottest in 1,632 months ever measured.
              Last December 29th, the same unnatural global warming fuel storm
              system that created record floods in the Midwest went on up to the
              Arctic and on December 29th, smack in the middle of the polar
              winter night at the North Pole, temperatures were driven up 50
              degrees above the freezing point. So the North Pole started
              thawing in the middle of the winter night. Yesterday the
              announcement came that it’s the smallest winter extent of ice ever
              measured in the Arctic.

              Ninety-three percent of the extra heat goes into the oceans of the
              world, and that has consequences. When Super Storm Sandy
              headed across the Atlantic toward this city, it crossed areas of the
              Atlantic that were nine degrees Fahrenheit warmer than normal


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              and that’s what made that storm so devastating. The sea level had
              already come up because of the ice melting, principally off
              Greenland and Antarctica.         And as the Attorney General
              mentioned, that’s a process now accelerating.          But these
              ocean-based storms are breaking records now. I just came from
              the Philippines where Super Typhoon Haiyon created 4 million
              homeless people when it crossed much warmer waters of the
              Pacific. By the way, it was a long plane flight to get here and I
              happened to get, just before we took off, the 200-page brief that
              you all filed in support of the Clean Power Plan. Really excellent
              work. Footnotes took up a lot of those 200 pages so I’m not
              claiming to [have] read all 200 of them.

              The same extra heat in the oceans is disrupting the water cycle.
              We all learned in school that the water vapor comes off the oceans
              and falls as rain or snow over the land and then rushes back to the
              ocean. That natural life-giving process is being massively
              disrupted because the warmer oceans put a lot more water vapor up
              there. And when storm conditions present themselves they, these
              storms will reach out thousands of kilometers to funnel all that
              extra humidity and water vapor into these massive record-breaking
              downpours. And occasionally it creates a snowpocalypse or
              snowmaggedon but most often, record-breaking floods. We’ve
              had seven once-in-a-thousand-year floods in the last ten years in
              the U.S. Just last week in Louisiana and Arkansas, two feet of rain
              in four days coming again with what they call the Maya Express
              off the oceans. And the same extra heat that’s creating these
              record-breaking floods also pull the soil moisture out of the land
              and create these longer and deeper droughts all around the world
              on every continent.

              Every night on the news now it’s like a nature hike through the
              Book of Revelation. And we’re seeing tropical diseases moving to
              higher latitudes – the Zika virus. Of course the transportation
              revolution has a lot to do with the spread of Zika and Dengue
              Fever and Chikungunya and diseases I’ve never heard of when I
              was growing up and maybe, probably most of you never did either.
              But now, they’re moving and taking root in the United States.
              Puerto Rico is part of the United States, by the way – not a state,
              but part of our nation. Fifty percent of the people in Puerto Rico
              are estimated to get the Zika virus this year. By next year, eighty
              percent. When people who are part of the U.S. territory, when
              women are advised not to get pregnant, that’s something new that


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              ought to capture our attention. And in large areas of Central
              America and South America, women are advised now not to get
              pregnant for two years until they try to get this brand new viral
              disease under control.

              The list of the consequences continues, and I’m not going to go
              through it all, but the answer to that first question: “Do we have to
              change?” is clearly now to any reasonable thinking person: “yes,
              we have to change.” Now the second question is: “Can we
              change?” And for quite a few years, I will confess to you that,
              when I answered that question yes, it was based on the projections
              of scientists and technologists who said, just wait. We’re seeing
              these exponential curves just begin, solar is going to win, wind
              power is going to get way cheaper, batteries are going to have their
              day, we’re going to see much better efficiency. Well now we’re
              seeing these exponential curves really shoot up dramatically.
              Almost 75% of all the new investment in the U.S. in new
              generating capacity last year was in solar and wind – more than
              half worldwide. We’re seeing coal companies go bankrupt on a
              regular basis now. Australia is the biggest coal exporter in the
              world. They’ve just, just the analysis there, they’re not going to
              build any more coal plants because solar and wind are so cheap.
              And we’re seeing this happen all around the world. But, there is
              an effort in the U.S. to slow this down and to bring it to a halt
              because part of the group that, again according to the best available
              evidence, has been committing fraud in trying to convince people
              that the climate crisis is not real, are now trying to convince people
              that renewable energy is not a viable option. And, worse than that,
              they’re using their combined political and lobbying efforts to put
              taxes on solar panels and jigger with the laws to require that
              installers have to know the serial number of every single part that
              they’re using to put on a rooftop of somebody’s house, and a
              whole series of other phony requirements, unneeded requirements,
              that are simply for the purpose of trying to slow down this
              renewable revolution. In the opinion of many who have looked at
              this pattern of misbehavior and what certainly looks like fraud,
              they are violating the law. If the Congress would actually work –
              our democracy’s been hacked, and that’s another story, not the
              subject of this press conference – but if the Congress really would
              allow the executive branch of the federal government to work, then
              maybe this would be taken care of at the federal level. But these
              brave men and women, who are the attorneys general of the states
              represented in this historic coalition, are doing their job and – just


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                    as many of them did in the tobacco example – they are now giving
                    us real hope that the answer to that third question: “Will we
                    change?” is going to be “yes.” Because those who are using unfair
                    and illegal means to try to prevent the change are likely now,
                    finally, at long last, to be held to account. And that will remove
                    the last barriers to allow the American people to move forward and
                    to redeem the promise of our president and our country in the
                    historic meeting in Paris last December where the United States led
                    the global coalition to form the first global agreement that is truly
                    comprehensive. If the United States were to falter and stop leading
                    the way, then there would be no other leader for the global effort to
                    solve this crisis. By taking the action these attorneys general are
                    taking today, it is the best, most hopeful step I can remember in a
                    long time – that we will make the changes that are necessary.

                    So, I’ll conclude my part in this by, once again, saying
                    congratulations to these public servants for the historic step they
                    are taking today. And on behalf of many people, who I think
                    would say it’s alright for me to speak for them, I’d like to say
                    thank you.

AG Schneiderman: Thank you very much, and now my other colleagues are going to
                 say a few words. For whatever reason, I’ve gotten into the habit,
                 since we always seem to do this, we do this in alphabetical order
                 by state, which I learned when I first became an AG but I guess
                 we’ll stick with it. Connecticut Attorney General George Jepsen
                 who was our partner in the Friedrichs case and stood with me
                 when we announced that we were filing in that case. We’ve done a
                 lot of good work together. Attorney General Jepsen.

AG Jepsen:          I’d like to thank Eric and Bill for their leadership on this important
                    issue and in convening this conference and to recognize the man
                    who has done more to make global warming an international issue
                    than anybody on the entire planet – Vice President Al Gore. In the
                    backdrop, in the backdrop of a very dysfunctional Congress, state
                    attorneys general, frequently on a bipartisan, basis have shown that
                    we can stand up and take action where others have not. The Vice
                    President referenced the tobacco litigation, which was before my
                    time but hugely important in setting the tone and the structures by
                    which we do work together. Since becoming attorney general in
                    2011, we’ve taken on the big banks and their mortgage servicing
                    issues, a $25 billion settlement. We’ve taken on Wall Street’s
                    Standard & Poor’s for mislabeling mortgage-backed securities – as


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                     a 20-state coalition – mislabeling mortgage-backed securities as
                     AAA when in fact they were junk. Working together on data
                     privacy issues, and now it’s time that we stand up once again and
                     take on what is the most important issue of our generation. We
                     owe it to our children, our children’s children, to step up and do
                     the right thing, to work together and I’m committed to it. Thank
                     you.

AG Schneiderman: Thank you. And now a relatively new colleague but someone who
                 has brought incredible energy to this fight and who we look
                 forward to working with on this and other matters for a long time
                 to come. Maryland Attorney General Brian Frosh.

AG Frosh:            Well, first thank you again to General Schneiderman and General
                     Sorrel for putting together this group and it’s an honor to be with
                     you, Mr. Vice President. Thank you so much for your leadership.
                     I’m afraid we may have reached that point in the press conference
                     where everything that needs to be said has been said, but everyone
                     who needs to say it hasn’t said it yet.

                                      [Laughter]

                     So, I will try to be brief. Climate change is an existential threat to
                     everybody on the planet. Maryland is exceptionally vulnerable to
                     it. The Chesapeake Bay bisects our state. It defines us
                     geographically, culturally, historically. We have as much tidal
                     shoreline as states as large as California. We have islands in the
                     Chesapeake Bay that are disappearing. We have our capital,
                     Annapolis, which is also the nuisance flood capital of the United
                     States. It’s under water way, way, way too often. It’s
                     extraordinarily important that we address the problem of climate
                     change. I’m grateful to General Sorrel and General Schneiderman
                     for putting together this coalition of the willing. I’m proud to be a
                     part of it in addressing and supporting the President’s Clean Power
                     Plan. What we want from ExxonMobil and Peabody and ALEC is
                     very simple. We want them to tell the truth. We want them to tell
                     the truth so that we can get down to the business of stopping
                     climate change and of healing the world. I think that as attorneys
                     general, as the Vice President said, we have a unique ability to help
                     bring that about and I’m very glad to be part of it.

AG Schneiderman: Thank you. And, another great colleague, who has done
                 extraordinary work before and since becoming attorney general
                 working with our office on incredibly important civil rights issues,

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                  financial fraud issues, Massachusetts Attorney General Maura
                  Healey.

AG Healey:        Thank you very much General Schneiderman. Thank you General
                  Schneiderman and General Sorrel for your leadership on this issue.
                  It’s an honor for me to be able to stand here today with you, with
                  our colleagues and certainly with the Vice President who, today, I
                  think, put most eloquently just how important this is, this
                  commitment that we make. Thank you for your leadership. Thank
                  you for your continuing education. Thank you for your inspiration
                  and your affirmation.

                  You know, as attorneys general, we have a lot on our plates:
                  addressing the epidemics of opiate abuse, gun violence, protecting
                  the economic security and well-being of families across this
                  country; all of these issues are so important. But make no mistake
                  about it, in my view, there’s nothing we need to worry about more
                  than climate change. It’s incredibly serious when you think about
                  the human and the economic consequences and indeed the fact that
                  this threatens the very existence of our planet. Nothing is more
                  important. Not only must we act, we have a moral obligation to
                  act. That is why we are here today.

                  The science – we do believe in science; we’re lawyers, we believe
                  in facts, we believe in information, and as was said, this is about
                  facts and information and transparency. We know from the
                  science and we know from experience the very real consequences
                  of our failure to address this issue. Climate change is and has been
                  for many years a matter of extreme urgency, but, unfortunately, it
                  is only recently that this problem has begun to be met with equally
                  urgent action. Part of the problem has been one of public
                  perception, and it appears, certainly, that certain companies, certain
                  industries, may not have told the whole story, leading many to
                  doubt whether climate change is real and to misunderstand and
                  misapprehend the catastrophic nature of its impacts. Fossil fuel
                  companies that deceived investors and consumers about the
                  dangers of climate change should be, must be, held accountable.
                  That’s why I, too, have joined in investigating the practices of
                  ExxonMobil. We can all see today the troubling disconnect
                  between what Exxon knew, what industry folks knew, and what
                  the company and industry chose to share with investors and with
                  the American public.



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                    We are here before you, all committed to combating climate
                    change and to holding accountable those who have misled the
                    public. The states represented here today have long been working
                    hard to sound the alarm, to put smart policies in place, to speed our
                    transition to a clean energy future, and to stop power plants from
                    emitting millions of tons of dangerous global warming pollution
                    into our air. I will tell you, in Massachusetts that’s been a very
                    good thing. Our economy has grown while we’ve reduced
                    greenhouse gas emissions and boosted clean power and efficiency.
                    We’re home to a state with an $11 billion clean energy industry
                    that employs nearly 100,000 people. Last year clean energy
                    accounted for 15% of New England’s power production. Our
                    energy efficiency programs have delivered $12.5 billion in benefits
                    since 2008 and are expected to provide another $8 billion over the
                    next three years. For the past five years, Massachusetts has also
                    been ranked number one in the country for energy efficiency. So
                    we know what’s possible. We know what progress looks like. But
                    none of us can do it alone. That’s why we’re here today. We have
                    much work to do, but when we act and we act together, we know
                    we can accomplish much. By quick, aggressive action, educating
                    the public, holding accountable those who have needed to be held
                    accountable for far too long, I know we will do what we need to do
                    to address climate change and to work for a better future. So, I
                    thank AG Schneiderman for gathering us here today and for my
                    fellow attorneys general in their continued effort in this important
                    fight. Thank you.

AG Schneiderman: Thank you. And now another great colleague who speaks as
                 eloquently as anyone I’ve heard about what’s happening to his
                 state, and a true hero of standing up in a place where maybe it’s
                 not quite as politically easy as it is to do it in Manhattan but
                 someone who is a true aggressive progressive and a great attorney
                 general, Mark Herring from Virginia.

AG Herring:         Thank you, Eric. Good afternoon. In Virginia, climate change
                    isn’t some theoretical issue. It’s real and we are already dealing
                    with its consequences. Hampton Roads, which is a coastal region
                    in Virginia, is our second most populated region, our second
                    biggest economy and the country’s second most vulnerable area as
                    sea levels rise. The area has the tenth most valuable assets in the
                    world threatened by sea level rise. In the last 85 years the relative
                    sea level in Hampton Roads has risen 14 inches – that’s well over a
                    foot – in just the last century.


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              Some projections say that we can expect an additional two to five
              feet of relative sea level rise by the end of this century – and that
              would literally change the face of our state. It would cripple our
              economy and it could threaten our national security as Norfolk
              Naval, the world’s largest naval base, is impacted. Nuisance
              flooding that has increased in frequency will become the norm.
              They call it blue sky flooding. Storm surges from tropical systems
              will threaten more homes, businesses and residents. And even
              away from the coast, Virginians are expected to feel the impact of
              climate change as severe weather becomes more dangerous and
              frequent. Just a few weeks ago, we had a highly unusual February
              outbreak of tornadoes in the Commonwealth that was very
              damaging and unfortunately deadly.

              Farming and forestry is our number one industry in Virginia. It’s a
              $70 billion industry in Virginia that supports around 400,000 jobs
              and it’s going to get more difficult and expensive. And, the
              Commonwealth of Virginia local governments and the navy are
              already spending millions to build more resilient infrastructure,
              with millions and millions more on the horizon. To replace just
              one pier at Norfolk Naval is about $35 to $40 million, and there are
              14 piers, so that would be around a half billion right there.

              As a Commonwealth and a nation, we can’t put our heads in the
              sand. We must act and that is what today is about. I am proud to
              have Virginia included in this first of its kind coalition which
              recognizes the reality and the pressing threat of man-made climate
              change and sea level rise. This group is already standing together
              to defend the Clean Power Plan – an ambitious and achievable plan
              – to enjoy the health, economic and environmental benefits of
              cleaner air and cleaner energy.          But there may be other
              opportunities and that’s why I have come all the way from
              Virginia.    I am looking forward to exploring ideas and
              opportunities, to partner and collaborate, if there are enforcement
              actions we need to be taking, if there are legal cases we need to be
              involved in, if there are statutory or regulatory barriers to growing
              our clean energy sectors and, ultimately, I want to work together
              with my colleagues here and back in Virginia to help combat
              climate change and to shape a more sustainable future.

              And for any folks who would say the climate change is some sort
              of made-up global conspiracy, that we’re wasting our time, then



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                    come to Hampton Roads. Come to Norfolk and take a look for
                    yourselves. Mayor Fraim would love to have you.

AG Schneiderman: Thank you. And our closer, another great colleague who has
                 traveled far but comes with tremendous energy to this cause and is
                 an inspiration to us all, U.S. Virgin Islands Attorney General
                 Claude Walker.

AG Walker:          Thank you. Thank you, General Schneiderman, Vice President
                    Gore. One of my heroes, I must say. Thank you. I’ve come far to
                    New York to be a part of this because in the Virgin Islands and
                    Puerto Rico, we experience the effects of global warming. We see
                    an increase in coral bleaching, we have seaweeds, proliferation of
                    seaweeds in the water, all due to global warming. We have
                    tourism as our main industry, and one of the concerns that we have
                    is that tourists will begin to see this as an issue and not visit our
                    shores. But also, residents of the Virgin Islands are starting to
                    make decisions about whether to live in the Virgin Islands – people
                    who have lived there for generations, their families have lived
                    there for generations. We have a hurricane season that starts in
                    June and it goes until November. And it’s incredibly destructive to
                    have to go through hurricanes, tropical storms annually. So people
                    make a decision: Do I want to put up with this, with the power
                    lines coming down, buildings being toppled, having to rebuild
                    annually? The strengths of the storms have increased over the
                    years. Tropical storms now transform into hurricanes. When
                    initially they were viewed as tropical storms but as they get close
                    to the land, the strength increases. So we’re starting to see people
                    make decisions about whether to stay in a particular place, whether
                    to move to higher ground – which is what some have said – as you
                    experience flooding, as you experience these strong storms. So we
                    have a strong stake in this, in making sure that we address this
                    issue.

                    We have launched an investigation into a company that we believe
                    must provide us with information about what they knew about
                    climate change and when they knew it. And we’ll make our
                    decision about what action to take. But, to us, it’s not an
                    environmental issue as much as it is about survival, as Vice
                    President Gore has stated. We try as attorneys general to build a
                    community, a safe community for all. But what good is that if
                    annually everything is destroyed and people begin to say: Why am
                    I living here?


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                     So we’re here today to support this cause and we’ll continue. It
                     could be David and Goliath, the Virgin Islands against a huge
                     corporation, but we will not stop until we get to the bottom of this
                     and make it clear to our residents as well as the American people
                     that we have to do something transformational. We cannot
                     continue to rely on fossil fuel. Vice President Gore has made that
                     clear. We have to look at renewable energy. That’s the only
                     solution. And it’s troubling that as the polar caps melt, you have
                     companies that are looking at that as an opportunity to go and drill,
                     to go and get more oil. Why? How selfish can you be? Your
                     product is destroying this earth and your strategy is, let’s get to the
                     polar caps first so we can get more oil to do what? To destroy the
                     planet further? And we have documents showing that. So this is
                     very troubling to us and we will continue our fight. Thank you.

AG Schneiderman: Thank you and Eric. And I do want to note, scripture reports
                 David was not alone in fact, Brother Walker. Eric and Matt will
                 take on-topic questions.

Moderator:           Please just say your name and publication.

Press Person:        John [inaudible] with The New York Times. I count two people
                     who have actually said that they’re launching new investigations.
                     I’m wondering if we could go through the list and see who’s
                     actually in and who is not in yet.

AG Schneiderman: Well, I know that prior to today, it was, and not every investigation
                 gets announced at the outset as you know, but it had already been
                 announced that New York and California had begun investigations
                 with those stories. I think Maura just indicated a Massachusetts
                 investigation and the Virgin Islands has, and we’re meeting with
                 our colleagues to go over a variety of things. And the meeting
                 goes on into the afternoon. So, I am not sure exactly where
                 everyone is. Different states have – it’s very important to
                 understand – different states have different statutes, different
                 jurisdictions. Some can proceed under consumer protection law,
                 some securities fraud laws, there are other issues related to
                 defending taxpayers and pension funds. So there are a variety of
                 theories that we’re talking about and collaborating and to the
                 degree to which we can cooperate, we share a common interest,
                 and we will. But, one problem for journalists with investigations
                 is, part of doing an investigation is you usually don’t talk a lot
                 about what you’re doing after you start it or even as you’re
                 preparing to start it.

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Press Person:        Shawn McCoy with Inside Sources. A Bloomberg Review editorial
                     noted that the Exxon investigation is preposterous and a dangerous
                     affirmation of power. The New York Times has pointed out that
                     Exxon has published research that lines up with mainstream
                     climatology and therefore there’s not a comparison to Big
                     Tobacco. So is this a publicity stunt? Is the investigation a
                     publicity stunt?

AG Schneiderman: No. It’s certainly not a publicity stunt. I think the charges that
                 have been thrown around – look, we know for many decades that
                 there has been an effort to influence reporting in the media and
                 public perception about this. It should come as no surprise to
                 anyone that that effort will only accelerate and become more
                 aggressive as public opinion shifts further in the direction of
                 people understanding the imminent threat of climate change and
                 other government actors, like the folks represented here step up to
                 the challenge. The specific reaction to our particular subpoena was
                 that the public reports that had come out, Exxon said were cherry
                 picked documents and took things out of context. We believe they
                 should welcome our investigation because, unlike journalists, we
                 will get every document and we will be able to put them in context.
                 So I’m sure that they’ll be pleased that we’re going to get
                 everything out there and see what they knew, when they knew it,
                 what they said and what they might have said.

Press Person:        David [inaudible] with The Nation. Question for General
                     Schneiderman. What do you hope to accomplish with your Exxon
                     investigation? I’m thinking with reference to Peabody where
                     really there was some disclosure requirements but it didn’t do a
                     great deal of [inaudible]. Is there a higher bar for Exxon? What
                     are the milestones that you hope to achieve after that investigation?

AG Schneiderman: It’s too early to say. We started the investigation. We received a
                 lot of documents already. We’re reviewing them. We’re not pre-
                 judging anything, but the situation with oil companies and coal
                 companies is somewhat different because the coal companies right
                 now are, the market is already judging the coal industry very
                 harshly. Coal companies, including Peabody, are teetering on the
                 brink. The evidence that we advanced and what was specifically
                 disclosed about Peabody were pretty clear cut examples of
                 misrepresentations made in violation with the Securities and
                 Exchange Commission, made to investors. It’s too early to say
                 what we’re going to find with Exxon but we intend to work as


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                aggressively as possible, but also as carefully as possible. We’re
                very aware of the fact that everything we do here is going to be
                subject to attack by folks who have a huge financial interest in
                discrediting us. So we’re going to be aggressive and creative but
                we are also going to be as careful and meticulous and deliberate as
                we can.

VP Gore:        Could I respond to the last couple of questions just briefly. And in
                doing so, I’d like to give credit to the journalistic community and
                single out the Pulitzer Prize winning team at InsideClimate News,
                also the Los Angeles Times and the student-led project at Columbia
                School of Journalism under Steve Coll. And the facts that were
                publicly presented during, in those series of articles that I have
                mentioned, are extremely troubling, and where Exxon Mobil in
                particular is concerned. The evidence appears to indicate that,
                going back decades, the company had information that it used for
                the charting of its plan to explore and drill in the Arctic, used for
                other business purposes information that largely was consistent
                with what the mainstream scientific community had collected and
                analyzed. And yes, for a brief period of time, it did publish some
                of the science it collected, but then a change came, according to
                these investigations. And they began to make public statements
                that were directly contrary to what their own scientists were telling
                them. Secondly, where the analogy to the tobacco industry is
                concerned, they began giving grants – according to the evidence
                collected – to groups that specialize in climate denial, groups that
                put out information purposely designed to confuse the public into
                believing that the climate crisis was not real. And according to
                what I’ve heard from the preliminary inquiries that some of these
                attorneys general have made, the same may be true of information
                that they have put out concerning the viability of competitors in the
                renewable energy space. So, I do think the analogy may well hold
                up rather precisely to the tobacco industry. Indeed, the evidence
                indicates that, that I’ve seen and that these journalists have
                collected, including the distinguished historian of science at
                Harvard, Naomi Oreskes wrote the book The Merchants of Doubt
                with her co-author, that they hired several of the very same public
                relations agents that had perfected this fraudulent and deceitful
                craft working for the tobacco companies. And so as someone who
                has followed the legislative, the journalistic work very carefully, I
                think the analogy does hold up.




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Press Person:         [inaudible] with InsideClimate News. Along the lines of talking
                      about that analogy: from a legal framework, can you talk about a
                      comparison, similarities and differences between this potential case
                      and that of Big Tobacco?

AG Schneiderman: Well, again, we’re at the early stages of the case. We are not pre-
                 judging the evidence. We’ve seen some things that have been
                 published by you and others, but it is our obligation to take a look
                 at the underlying documentation and to get at all the evidence, and
                 we do that in the context of an investigation where we will not be
                 talking about every document we uncover. It’s going to take some
                 time, but that’s another reason why working together collectively
                 is so important. And we are here today because we are all
                 committed to pursuing what you might call an all-levers approach.
                 Every state has different laws, different statutes, different ways of
                 going about this. The bottom line is simple. Climate change is
                 real, it is a threat to all the people we represent. If there are
                 companies, whether they are utilities or they are fossil fuel
                 companies, committing fraud in an effort to maximize their
                 short-term profits at the expense of the people we represent, we
                 want to find out about it. We want to expose it, and we want to
                 pursue them to the fullest extent of the law.

Moderator:            Last one.

Press Person:         Storms, floods will arise they are all going to continue to destroy
                      property and the taxpayers . . .

Moderator:            What’s your name and . . .

Press Person:         Oh, sorry. Matthew Horowitz from Vice. Taxpayers are going to
                      have to pay for these damages from our national flood insurance
                      claims. So if fossil fuel companies are proven to have committed
                      fraud, will they be held financially responsible for any sorts of
                      damages?

AG Schneiderman: Again, it’s early to say but certainly financial damages are one
                 important aspect of this but, and it is tremendously important and
                 taxpayers – it’s been discussed by my colleagues – we’re already
                 paying billions and billions of dollars to deal with the
                 consequences of climate change and that will be one aspect of –
                 early foreseeing, it’s far too early to say. But, this is not a situation
                 where financial damages alone can deal with the problem. We
                 have to change conduct, and as the Vice President indicated, other

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                  places in the world are moving more rapidly towards renewables.
                  There is an effort to slow that process down in the United States.
                  We have to get back on that path if we’re going to save the planet
                  and that’s ultimately what we’re here for.

Moderator:        We’re out of time, unfortunately. Thank you all for coming.




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  Exhibit B


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                         THE COMMONWEALTH OF MASSACHUSETTS
                             OFFICE OF THE ATTORNEY GENERAL
                                              ONE ASHBURTON PLACE
                                          BOSTON, MASSACHUSETTS 02108
MAURA HEALEY                                                                               TEL: (617) 727­2200
ATTORNEY GENERAL                                                                             www.mass.gov/ago



                                  CIVIL INVESTIGATIVE DEMAND

          BY HAND DELIVERY

          Demand No.: 2016­EPD­36

          Date Issued:   April 19, 2016

          Issued To:     Exxon Mobil Corporation
                         c/o Corporation Service Company, its Registered Agent
                         84 State Street
                         Boston, Massachusetts 02109


                  This Civil Investigative Demand ("CID") is issued to Exxon Mobil Corporation
          ("Exxon" or "You") pursuant to Massachusetts General Laws c. 93A, § 6, as part of a
          pending investigation concerning potential violations of M.G.L. c. 93 A, § 2, and the
          regulations promulgated thereunder arising both from (1) the marketing and/or sale of
          energy and other fossil fuel derived products to consumers in the Commonwealth of
          Massachusetts (the "Commonwealth"); and (2) the marketing and/or sale of securities, as
          defined in M.G.L, c. 110A, § 401(k), to investors in the Commonwealth, including,
          without limitation, fixed­ and floating rate­notes, bonds, and common stock, sold or
          offered to be sold in the Commonwealth.

                 This CID requires You to produce the documents identified in Schedule A below,
          pursuant to M.G.L. c. 93A, § 6(1). The Documents identified in Schedule A must be
          produced by May 19, 2016, by delivering them to:

                         I. Andrew Goldberg
                         Assistant Attorney General
                         Office of the Attorney General
                         One Ashburton Place
                         Boston, MA 02108

                 The documents shall be accompanied by an affidavit in the form attached hereto.
          AAG Goldberg and such other employees, agents, consultants, and experts of the Office
          of the Attorney General as needed in its discretion, shall review Your affidavit and the
          documents produced in conjunction with our investigation.



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        This CID also requires You to appear and give testimony under oath through
Your authorized custodian of records that the documents You produce in response to this
CID represent all of the documents called for in this CID; that You have not withheld any
documents responsive to this CID; and that all of the documents You produce were
records made in good faith and kept in the regular course of Your business, and it was the
regular course of Your business to make and keep such records. This testimony will be
taken on June 10, 2016, beginning at 9:30 a.m. at the Boston Office of the Attorney
General, 100 Cambridge Street, 10th Floor, Boston, Massachusetts. The testimony will be
taken by AAG Goldberg or an appropriate designee, before an officer duly authorized to
administer oaths by the law of the Commonwealth, and shall proceed, day to day, until
the taking of testimony is completed. The witness has the right to be accompanied by an
attorney. Rule 30(c) of the Massachusetts Rules of Civil Procedure shall apply. Your
attendance and testimony are necessary to conduct this investigation.

        This CID also requires You to appear and give testimony under oath through one
or more of Your officers, directors or managing agents, or other persons most
knowledgeable concerning the subject matter areas enumerated in Schedule B, below.
This testimony will be taken on June 24, 2016, beginning at 9:30 a.m. at the Boston
Office of the Attorney General, 100 Cambridge Street, 10th Floor, Boston, Massachusetts.
The testimony will be taken by AAG Goldberg or an appropriate designee, before an
officer duly authorized to administer oaths by the law of the Commonwealth, and shall
proceed, day to day, until the taking of testimony is completed. The witness has the right
to be accompanied by an attorney. Rule 30(c) of the Massachusetts Rules of Civil
Procedure shall apply. Your attendance and testimony are necessary to conduct this
investigation.

        Under G.L. c. 93A, § 6(7), You may make a motion prior to the production date
specified in this notice, or within twenty­one days after this notice has been served,
whichever period is shorter, in the appropriate court of law to modify or set aside this
CID for good cause shown.

        If the production of the documents required by this CID would be, in whole or in
part, unduly burdensome, or if You require clarification of any request, please contact
AAG Goldberg promptly at the phone number below.

       Finally, please note that under G.L. c. 93 A, §7, obstruction of this investigation,
including the alteration or destruction of any responsive document after receipt of




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this CID, is subject to a fine of up to five thousand dollars ($5,000.00). A copy of that
provision is reprinted at Schedule C.

       Issued at Boston, Massachusetts, this 19tl1 day of April, 2016.

                                              COMMONWEALTH OF
                                              MASSACHUSETTS




                                              Assistant Attorney General
                                              Office of the Attorney General
                                              One Ashburton Place
                                              Boston, MA 02108
                                              Tel. (617) 727­2200




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                                    SCHEDULE A
   A. General Definitions and Rules of Construction

    1. "Advertisement" means a commercial message made orally or in any
       newspaper, magazine, leaflet, flyer, or catalog; on radio, television, or public
       address system; electronically, including by email, social media, and blog post;
       or made in person, in direct mail literature or other printed material, or on any
       interior or exterior sign or display, in any window display, in any point of
       transaction literature, but not including on any product label, which is delivered
       or made available to a customer or prospective customer in any manner
       whatsoever.

     2. "All" means each and every.

     3. "Any" means any and all.

     4. "And" and "or" shall be construed either disjunctively or conjunctively as
        necessary to bring within the scope of the C1D all information or Documents
        that might otherwise be construed to be outside of its scope.

     5. "Communication" means any conversation, discussion, letter, email,
        memorandum, meeting, note or other transmittal of information or message,
        whether transmitted in writing, orally, electronically or by any other means, and
        shall include any Document that abstracts, digests, transcribes, records or
        reflects any of the foregoing. Except where otherwise stated, a request for
        "Communications" means a request for all such Communications.

     6. "Concerning" means, directly or indirectly, in whole or in part, relating to,
        referring to, describing, evidencing or constituting.

     7. "Custodian" means any Person or Entity that, as of the date of this CID,
        maintained, possessed, or otherwise kept or controlled such Document.

     8. "Document" is used herein in the broadest sense of the term and means all
        records and other tangible media of expression of whatever nature however and
        wherever created, produced or stored (manually, mechanically, electronically or
        otherwise), including without limitation all versions whether draft or final, all
        annotated or nonconforming or other copies, electronic mail ("e­mail"), instant
        messages, text messages, personal digital assistant or other wireless device
        messages, voicemail, calendars, date books, appointment books, diaries, books,
        papers, files, notes, confirmations, accounts statements, correspondence,
        memoranda, reports, records, journals, registers, analyses, plans, manuals,
        policies, telegrams, faxes, telexes, wires, telephone logs, telephone messages,
        message slips, minutes, notes or records or transcriptions of conversations or

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        Communications or meetings, tape recordings, videotapes, disks, and other
        electronic media, microfilm, microfiche, storage devices, press releases,
        contracts, agreements, notices and summaries. Any non­identical version of a
        Document constitutes a separate Document within this definition, including
        without limitation drafts or copies bearing any notation, edit, comment,
        marginalia, underscoring, highlighting, marking, or any other alteration of any
        kind resulting in any difference between two or more otherwise identical
        Documents. In the case of Documents bearing any notation or other marking
        made by highlighting ink, the term Document means the original version
        bearing the highlighting ink, which original must be produced as opposed to any
        copy thereof. Except where otherwise stated, a request for "Documents" means
        a request for all such Documents.

     9. "Entity" means without limitation any corporation, company, limited liability
        company or corporation, partnership, limited partnership, association, or other
        firm or similar body, or any unit, division, agency, department, or similar
        subdivision thereof.

     10. "Identify" or "Identity," as applied to any Document means the provision in
         writing of information sufficiently particular to enable the Attorney General to
         request the Document's production through CID or otherwise, including but not
         limited to: (a) Document type (letter, memo, etc.); (b) Document subject matter;
         (c) Document date; and (d) Document author(s), addressee(s) and recipient(s).
         In lieu of identifying a Document, the Attorney General will accept production
         of the Document, together with designation of the Document's Custodian, and
         identification of each Person You believe to have received a copy of the
         Document.

     11. "Identify" or "Identity," as applied to any Entity, means the provision in writing
         of such Entity's legal name, any d/b/a, former, or other names, any parent,
         subsidiary, officers, employees, or agents thereof, and any address(es) and any
         telephone number(s) thereof.
     12. "Identify" or "Identity," as applied to any natural person, means and includes
         the provision in writing of the natural person's name, title(s), any aliases,
         place(s) of employment, telephone number(s), e­mail address(es), mailing
         addresses and physical address(es).

     13. "Person" means any natural person, or any Entity.

     14. "Refer" means embody, refer or relate, in any manner, to the subject of the
         document demand.




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     15. "Refer or Relate to" means to make a statement about, embody, discuss,
         describe, reflect, identify, deal with, consist of, establish, comprise, list, or in
         any way pertain, in whole or in part, to the subject of the document demand.

     16. "Sent" or "received" as used herein means, in addition to their usual meanings,
         the transmittal or reception of a Document by physical, electronic or other
         delivery, whether by direct or indirect means.

     17. "CID" means this subpoena and any schedules, appendices, or attachments
         thereto.

     18. The use of the singular form of any word used herein shall include the plural
         and vice versa. The use of any tense of any verb includes all other tenses of the
         verb.

     19. The references to Communications, Custodians, Documents, Persons, and
         Entities in this CID encompass all such relevant ones worldwide.

   B. Particular Definitions

   1. "Exxon," "You," or "Your," means Exxon Mobil Corporation, and any present or
      former parents, subsidiaries, affiliates, directors, officers, partners, employees,
      agents, representatives, attorneys or other Persons acting on its behalf, and
      including predecessors or successors or any affiliates of the foregoing.

   2. "Exxon Products and Services" means products and services, including without
      limitation petroleum and natural gas energy products and related services, offered
      to and/or sold by Exxon to consumers in Massachusetts.
   3. "Carbon Dioxide" or "CO2" means the naturally occurring chemical compound
      composed of a carbon atom covalently double bonded to two oxygen atoms that is
      fixed by photosynthesis into organic matter.

   4. "Climate" means the statistical description in terms of the mean and variability of
      relevant quantities, such as surface variables, including, without limitation,
      temperature, precipitation, and wind, on Earth over a period of time ranging from
      months to thousands or millions of years. Climate is the state, including a
      statistical description, of the Climate System. See Intergovernmental Panel on
      Climate Change (1PCC), 2012: Glossary of terms. In: Managing the Risks of
      Extreme Events and Disasters to Advance Climate Change Adaptation [Field,
      C.B., V. Barros, T.F. Stacker, D. Qin, D.J. Dokken, K.L. Ebi, M.D. Mastrandrea,
      K.J. Mach, G.­K. Plattner, S.K. Allen, M. Tignor, and P.M. Midgley (eds.)]. A
      Special Report of Working Groups I and II of the IPCC. Cambridge University
      Press, Cambridge, UK, and New York, NY, USA (the "IPCC Glossary"), p. 557.


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   5. "Climate Change" means a change in the state of Earth's Climate that can be
      identified (e.g., by using statistical tests) by changes in the mean and/or the
      variability of its properties and that persists for an extended period, typically
      decades or longer. See IPCC Glossary, p. 557.

   6. "Climate Model" means a numerical representation of the Climate System based
      on the physical, chemical, and biological properties of its components, their
      interactions, and feedback processes, and that accounts for all or some of its
      known properties. Climate models are applied as a research tool to study and
      simulate the climate, and for operational purposes, including monthly, seasonal,
      interannual, and longer­term climate predictions. See IPCC Glossary, p. 557.

   7. "Climate Risk" means the risk that variables in the Climate System reach values
      that adversely affect natural and human systems and regions, including those that
      relate to extreme values of the climate variables such as high wind speed, high
      river water and sea level stages (flood), and low water stages (drought). These
      include, without limitation, such risks to ecosystems, human health, geopolitical
      stability, infrastructure, facilities, businesses, asset value, revenues, and profits, as
      well as the business risks associated with public policies and market changes that
      arise from efforts to mitigate or adapt to Climate Change.

   8. "Climate Science" means the study of the Climate on Earth.
   9. "Climate System" means the dynamics and interactions on Earth of five major
      components: atmosphere, hydrosphere, cryosphere, land surface, and biosphere.
      See IPCC Glossary, p. 557.

   10. "Global Warming" means the gradual increase, observed or projected, in Earth's
       global surface temperature, as one of the consequences of radiative forcing caused
       by anthropogenic emissions.

   11. "Greenhouse Gas" means a gaseous constituent of Earth's atmosphere, both
       natural and anthropogenic, that absorbs and emits radiation at specific
       wavelengths within the spectrum of infrared radiation emitted by the Earth's
       surface, the atmosphere, and clouds. Water vapor (H2O), carbon dioxide (CO2),
       nitrous oxide (N2O), methane (CH4), chlorofluorocarbons (CFCs), and ozone (O3)
       are the primary Greenhouse Gases in the Earth's atmosphere. See IPCC Glossary,
       p. 560.

   12. "Greenhouse Gas Emissions" means the exiting to the atmosphere of Greenhouse
       Gas.

   13. "Methane" or "CH4" means the chemical compound composed of one atom of
       carbon and four atoms of hydrogen. Methane is the main component of natural
       gas.

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   14. "Radiative Forcing Effect" means the influence a factor has in altering the balance
       of incoming and outgoing energy in the Earth­atmosphere system and is an index
       of the importance of the factor as a potential climate change mechanism.

   15. "Security" has the same meaning as defined in M.G.L. c. 110A, § 401(k), and
       includes, without limitation, any fixed­ and floating rate­notes, bonds, and
       common stock, available to investors for purchase by Massachusetts residents.

   16. "Sustainable Development" means development that meets the needs of the
       present without compromising the ability of future generations to meet their own
       needs. See IPCC Glossary, p. 564.

   17. "Sustainability Reporting" means the practice of measuring, disclosing and being
       accountable to internal and external stakeholders for organizational performance
       towards the goals of Sustainable Development.

   18. "Acton Institute for the Study of Religion and Liberty" or "Acton Institute" means
       the nonprofit organization by that name. Acton Institute is located in Grand
       Rapids, Michigan.

   19. "American Enterprise Institute for Public Policy Research" or "AEI" means the
       nonprofit public policy organization by that name. AEI is based in Washington,
       D.C.

   20. "Americans for Prosperity" means the nonprofit advocacy group by that name.
       Americans for Prosperity is based in Arlington, Virginia.

   21. "American Legislative Exchange, Council" or "ALEC" means the nonprofit
       organization by that name consisting of state legislator and private sector
       members. ALEC is based in in Arlington, Virginia.

   22. "American Petroleum Institute" or "API" means the oil and gas industry trade
       association by that name. API is based in Washington, D.C.

   23. "Beacon Hill Institute at Suffolk University" means the research arm of the
       Department of Economics at Suffolk University in Boston, Massachusetts, by that
       name.

   24. "Center for Industrial Progress" or "CIP" means the for profit organization by that
       name. CIP is located in Laguna Hills, California.

   25. "Competitive Enterprise Institute" or "CEI" means the nonprofit public policy
       organization by that name. CEI is based in Washington, D.C.

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   26. "George C. Marshall Institute" means the nonprofit public policy organization by
       that name. George C. Marshall Institute is based in Arlington, Virginia.

   27. "The Heartland Institute" means the nonprofit public policy organization by that
       name. The Heartland Institute is based in Arlington Heights, Illinois.

   28. "The Heritage Foundation" means the nonprofit public policy organization by
      that name. The Heritage Foundation is based in Washington, D.C.

   29. "Mercatus Center at George Mason University" means the university­based
       nonprofit public policy organization by that name. Mercatus Center at George
       Mason University is based in Arlington, Virginia.

   C. Instructions

   1. Preservation of Relevant Documents and Information; Spoliation. You are
      reminded of your obligations under law to preserve Documents and information
      relevant or potentially relevant to this CID from destruction or loss, and of the
      consequences of, and penalties available for, spoliation of evidence. No
      agreement, written or otherwise, purporting to modify, limit or otherwise vary the
      terms of this CID, shall be construed in any way to narrow, qualify, eliminate or
      otherwise diminish your aforementioned preservation obligations. Nor shall you
      act, in reliance upon any such agreement or otherwise, in any manner inconsistent
      with your preservation obligations under law. No agreement purporting to modify,
      limit or otherwise vary your preservation obligations under law shall be construed
      as in any way narrowing, qualifying, eliminating or otherwise diminishing such
      aforementioned preservation obligations, nor shall you act in reliance upon any
      such agreement, unless an Assistant Attorney General confirms or acknowledges
      such agreement in writing, or makes such agreement a matter of record in open
      court.

   2. Possession, Custody, and Control. The CID calls for all responsive Documents or
      information in your possession, custody or control. This includes, without
      limitation. Documents or information possessed or held by any of your officers,
      directors, employees, agents, representatives, divisions, affiliates, subsidiaries or
      Persons from whom you could request Documents or information. If Documents
      or information responsive to a request in this CID are in your control, but not in
      your possession or custody, you shall promptly Identify the Person with
      possession or custody.

   3. Documents No Longer in Your Possession. If any Document requested herein was
      formerly in your possession, custody or control but is no longer available, or no
      longer exists, you shall submit a statement in writing under oath that: (a) describes

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      in detail the nature of such Document and its contents; (b) Identifies the Person(s)
      who prepared such Document and its contents; (c) Identifies all Persons who have
      seen or had possession of such Document; (d) specifies the date(s) on which such
      Document was prepared, transmitted or received; (e) specifies the date(s) on
      which such Document became unavailable; (f) specifies the reason why such
      Document is unavailable, including without limitation whether it was misplaced,
      lost, destroyed or transferred; and if such Document has been destroyed or
      transferred, the conditions of and reasons for such destruction or transfer and the
      Identity of the Person(s) requesting and performing such destruction or transfer;
      and (g) Identifies all Persons with knowledge of any portion of the contents of the
      Document.

   4. No Documents Responsive to CID Requests. If there are no Documents
      responsive to any particular CID request, you shall so state in writing under oath
      in the Affidavit of Compliance attached hereto, identifying the paragraph
      number(s) of the CID request concerned.

   5. Format of Production. You shall produce Documents, Communications, and
      information responsive to this CID in electronic format that meets the
      specifications set out in Schedule D.

   6. Existing Organization of Documents to be Preserved. Regardless of whether a
      production is in electronic or paper format, each Document shall be produced in
      the same form, sequence, organization or other order or layout in which it was
      maintained before production, including but not limited to production of any
      Document or other material indicating filing or other organization. Such
      production shall include without limitation any file folder, file jacket, cover or
      similar organizational material, as well as any folder bearing any title or legend
      that contains no Document. Documents that are physically attached to each other
      in your files shall be accompanied by a notation or information sufficient to
      indicate clearly such physical attachment.

   7. Document Numbering. All Documents responsive to this CID, regardless of
      whether produced or withheld on ground of privilege or other legal doctrine, and
      regardless of whether production is in electronic or paper format, shall be
      numbered in the lower right comer of each page of such Document, without
      disrupting or altering the form, sequence, organization or other order or layout in
      which such Documents were maintained before production. Such number shall
      comprise a prefix containing the producing Person's name or an abbreviation
      thereof, followed by a unique, sequential, identifying document control number,

   8. Privilege Placeholders. For each Document withheld from production on ground
      of privilege or other legal doctrine, regardless of whether a production is
      electronic or in hard copy, you shall insert one or more placeholder page(s) in the

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      production bearing the same document control number(s) borne by the Document
      withheld, in the sequential place(s) originally occupied by the Document before it
      was removed from the production.

   9. Privilege. If You withhold or redact any Document responsive to this CID of
      privilege or other legal doctrine, you shall submit with the Documents produced a
      statement in writing under oath, stating: (a) the document control number(s) of the
      Document withheld or redacted; (b) the type of Document; (c) the date of the
      Document; (d) the author(s) and recipient(s) of the Document; (e) the general
      subject matter of the Document; and (f) the legal ground for withholding or
      redacting the Document. If the legal ground for withholding or redacting the
      Document is attorney­client privilege, you shall indicate the name of the
      attorney(s) whose legal advice is sought or provided in the Document.

   10. Your Production Instructions to be Produced. You shall produce a copy of all
       written or otherwise recorded instructions prepared by you concerning the steps
       taken to respond to this CID. For any unrecorded instructions given, you shall
       provide a written statement under oath from the Person(s) who gave such
       instructions that details the specific content of the instructions and any Person(s)
       to whom the instructions were given.

   11. Cover Letter. Accompanying any production(s) made pursuant to this CID, You
       shall include a cover letter that shall at a minimum provide an index containing
       the following: (a) a description of the type and content of each Document
       produced therewith; (b) the paragraph number(s) of the CID request to which each
       such Document is responsive; (c) the Identity of the Custodian(s) of each such
       Document; and (d) the document control number(s) of each such Document.

   12. Affidavit of Compliance. A copy of the Affidavit of Compliance provided
       herewith shall be completed and executed by all natural persons supervising or
       participating in compliance with this CID, and you shall submit such executed
       Affidavit(s) of Compliance with Your response to this CID.

   13. Identification of Persons Preparing Production. In a schedule attached to the
       Affidavit of Compliance provided herewith, you shall Identify the natural
       person(s) who prepared or assembled any productions or responses to this CID.
       You shall further Identify the natural person(s) under whose personal supervision
       the preparation and assembly of productions and responses to this CID occurred.
       You shall further Identify all other natural person(s) able competently to testify:
       (a) that such productions and responses are complete and correct to the best of
       such person's knowledge and belief; and (b) that any Documents produced are
       authentic, genuine and what they purport to be.




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   14. Continuing Obligation to Produce. This CID imposes a continuing obligation to
       produce the Documents and information requested. Documents located, and
       information learned or acquired, at any time after your response is due shall be
       promptly produced at the place specified in this CID.

   15. No Oral Modifications. No agreement purporting to modify, limit or otherwise
       vary this CID shall be valid or binding, and you shall not act in reliance upon any
       such agreement, unless an Assistant Attorney General confirms or acknowledges
       such agreement in writing, or makes such agreement a matter of record in open
       court.

   16. Time Period. Except where otherwise stated, the time period covered by this CID
       shall be from April 1, 2010, through the date of the production.

   D. Documents to be Produced

   1. For the time period from January 1, 1976, through the date of this production.
      Documents and Communications concerning Exxon's development, planning,
      implementation, review, and analysis of research efforts to study CO2 emissions
      (including, without limitation, from fossil fuel extraction, production, and use),
      and the effects of these emissions on the Climate, including, without limitation,
      efforts by Exxon to:

          (a) analyze the absorption rate of atmospheric CO2 in the oceans by
              developing and using Climate Models;

          (b) measure atmospheric and oceanic CO2 levels (including, without
              limitation, through work conducted on Exxon's Esso Atlantic tanker);

          (c) determine the source of the annual CO2 increment that has been increasing
              over time since the Industrial Revolution by measuring changes in the
              isotopic ratios of carbon and the distribution of radon in the ocean; and/or

          (d) assess the financial costs and environmental consequences associated with
              the disposal of CO2 and hydrogen sulfide gas from the development of
              offshore gas from the seabed of the South China Sea off Natuna Island,
              Indonesia.

   2. For the time period from January 1, 1976, through the date of this production.
      Documents and Communications concerning papers prepared, and presentations
      given, by James F. Black, at times Scientific Advisor in the Products Research
      Division of Exxon Research and Engineering, author of, among others, the paper
      The Greenhouse Effect, produced in or around 1978.



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   3. For the time period from January 1, 1976, through the date of this production.
      Documents and Communications concerning the paper CO? Greenhouse Effect
      A Technical Review, dated April 1, 1982, prepared by the Coordination and
      Planning Division of Exxon Research and Engineering Company.

   4. For the time period from January 1, 1976, through the date of this production,
      Documents and Communications concerning the paper CO2 Greenhouse and
      Climate Issues, dated March 28, 1984, prepared by Henry Shaw, including all
      Documents:

          (a) forming the basis for Exxon's projection of a 1.3 to 3.1 degree Celsius
              average temperature rise by 2090 due to increasing CO2 emissions and all
              Documents describing the basis for Exxon's conclusions that a 2 to 3
              degree Celsius increase in global average temperature could:

                   • Be "amplified to about 10 degrees C at the poles," which could
                     cause "polar ice melting and a possible sea­level rise of 0.7
                     meter[sic] by 2080"
                   • Cause redistribution of rainfall
                   • Cause detrimental health effects
                   • Cause population migration

          (b) forming the basis for Exxon's conclusion that society could "avoid the
              problem by sharply curtailing the use of fossil fuels."

   5. Documents and Communications with any of Acton Institute, AEI, Americans for
      Prosperity, ALEC, API, Beacon Hill Institute at Suffolk University, CEI, CIP,
      George C. Marshall Institute, The Heartland Institute, The Heritage Foundation,
      and/or Mercatus Center at George Mason University, concerning Climate Change
      and/or Global Warming, Climate Risk, Climate Science, and/or communications
      regarding Climate Science by fossil fuel companies to the media and/or to
      investors or consumers, including Documents and Communications relating to the
      funding by Exxon of any of those organizations.

   6. For the time period from September 1, 1997, through the date of this production.
      Documents and Communications concerning the API's draft Global Climate
      Science Communications Plan dated in or around 1998.

   7. For the time period from January 1, 2007, through the date of this production.
      Documents and Communications concerning Exxon's awareness of, and/or
      response to, the Union of Concerned Scientists report Smoke, Mirrors & Hot Air:
      How ExxonMobil Uses Big Tobacco's Tactics to Manufacture Uncertainty on
      Climate Science, dated January 2007.


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   8. For the time period from April 1, 1997, through the date of this production,
      Documents and Communications concerning the decision making by Exxon in
      preparing, and substantiation of, the following statements in the remarks Energy -
      key to growth and a better environment for Asia-Pacific nations, by then
      Chairman Lee R, Raymond to the World Petroleum Congress, Beijing, People's
      Republic of China, 10/13/97 (the "Raymond WPC Statements"):

          •   It is highly unlikely that the temperature in the middle of the next century
              will be significantly affected whether policies are enacted now or 20 years
              from now. (Raymond WPC Statements, p. 11)

          •   Forecasts of future warming come from computer models that try to
              replicate Earth's past climate and predict the future. They are notoriously
              inaccurate. None can do it without significant overriding adjustments.
              (Raymond WPC Statements, p. 10)

          •   Proponents of the agreements [that could result from the Kyoto Climate
              Change Conference in December 1997] say they are necessary because
              burning fossil fuels causes global warming. Many people ­ politicians and
              the public alike ­ believe that global warming is a rock­solid certainty.
              But it's not. (Raymond WPC Statements, p. 8)

          •   To achieve this kind of reduction in carbon dioxide emissions most
              advocates are talking about, governments would have to resort to energy
              rationing administered by a vast international bureaucracy responsible to
              no one. (Raymond WPC Statements, p. 10)

          •   We also have to keep in mind that most of the greenhouse effect comes
              from natural sources, especially water vapor. Less than a quarter is from
              carbon dioxide, and, of this, only four percent of the carbon dioxide
              entering the atmosphere is due to human activities ­ 96 percent comes
              from nature. (Raymond WPC Statements, p. 9)

   9. Documents and Communications concerning Chairman Rex W. Tillerson's June
      27, 2012, address to the Council on Foreign Relations, including those sufficient
      to document the factual basis for the following statements:

          •   Efforts to address climate change should focus on engineering methods to
              adapt to shifting weather patterns and rising sea levels rather than trying to
              eliminate use of fossil fuels.

          •   Humans have long adapted to change, and governments should create
              policies to cope with the Earth's rising temperatures.


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          •    Changes to weather patterns that move crop production areas around ­
               we'll adapt to that. It's an engineering problem and it has engineering
               solutions.

          •    Issues such as global poverty [are] more pressing than climate change, and
               billions of people without access to energy would benefit from oil and gas
               supplies.

   10. Documents and Communications concerning Chairman Tillerson's statements
       regarding Climate Change and Global Warming, on or about May 30, 2013, to
       shareholders at an Exxon shareholder meeting in Dallas, Texas, including
       Chairman Tillerson's statement "What good is it to save the planet if humanity
       suffers?"

   11. Documents and Communications concerning Chairman Tillerson's speech
       Unleashing Innovation to Meet Our Energy and Environmental Needs, presented
       to the 36th Annual Oil and Money Conference in London, England, 10/7/15 (the
       "2015 Oil and Money Conference Speech"), including Documents sufficient to
       demonstrate the factual basis for Chairman Tillerson's representation that
       Exxon's scientific research on Climate Change, begun in the 1970s, "led to work
       with the U.N.'s Intergovernmental Panel on Climate Change and collaboration
       with academic institutions and to reaching out to policymakers and others, who
       sought to advance scientific understanding and policy dialogue."

   12. Documents and Communications concerning any public statement Chairman
       Tillerson has made about Climate Change or Global Warming from 2012 to
       present.

   13. Documents and Communications concerning changes in the design, construction,
       or operation of any Exxon facility to address possible variations in sea level
       and/or other variables, such as temperature, precipitation, timing of sea ice
       formation, wind speed, and increased storm intensity, associated with Climate
       Change, including but not limited to:

          (a) adjustments to the height of Exxon's coastal and/or offshore drilling
              platforms; and

          (b) adjustments to any seasonal activity, including shipping and the movement
              of vehicles.

   14. Documents and Communications concerning any research, analysis, assessment,
       evaluation, Climate Modeling or other consideration performed by Exxon, or with
       funding provided by Exxon, concerning the costs for CO2 mitigation, including.


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      without limitation, concerning the 2014 Exxon report to shareholders Energy and
      Carbon - Managing the Risks (the "2014 Managing the Risks Report").

   15. Documents and Communications substantiating or refuting the following claims
       in the 2014 Managing the Risks Report:

          •   [B]y 2030 for the 450ppm C02 stabilization pathway, the average
              American household would face an added C02 cost of almost $2,350 per
              year for energy, amounting to about 5 percent of total before­tax median
              income, (p. 9)
          •   These costs would need to escalate steeply over time, and be more than
              double the 2030 level by mid­century, (p. 9)

          •   Further, in order to stabilize atmospheric GHG concentrations, these C02
              costs would have to be applied across both developed and undeveloped
              countries, (p. 9)

          •   [W]e see world GDP growing at a rate that exceeds population growth
              through [the year 2040], almost tripling in size from what it was globally
              in 2000 [fn. omitted]. It is largely the poorest and least developed of the
              world's countries that benefit most from this anticipated growth.
              However, this level of GDP growth requires more accessible, reliable and
              affordable energy to fuel growth, and it is vulnerable populations who
              would suffer most should that growth be artificially constrained.
              (pp. 3 ­ 4)

          •   [W]e anticipate renewables growing at the fastest pace among all sources
              through [the year 2040]. However, because they make a relatively small
              contribution compared to other energy sources, renewables will continue
              to comprise about 5 percent of the total energy mix by 2040. Factors
              limiting further penetration of renewables include scalability, geographic
              dispersion, intermittency (in the case of solar and wind), and cost relative
              to other sources, (p. 6)

          •   In assessing the economic viability of proved reserves, we do not believe a
              scenario consistent with reducing GHG emissions by 80 percent by 2050,
              as suggested by the "low carbon scenario," lies within the "reasonably
              likely to occur" range of planning assumptions, since we consider the
              scenario highly unlikely, (p. 16)

   16. Documents and Communications that formed the basis for the following
       statements in Exxon's January 26, 2016, press release on Exxon's 2016 Energy
       Outlook:


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          •    In 2040, oil and natural gas are expected to make up nearly 60 percent of
               global supplies, while nuclear and renewables will be approaching 25
               percent. Oil will provide one third of the world's energy in 2040,
               remaining the No. 1 source of fuel, and natural gas will move into second
               place.

          •    ExxonMobil's analysis and those of independent agencies confirms our
               long­standing view that all viable energy sources will be needed to meet
               increasing demand.

          «    The Outlook projects that global energy­related carbon dioxide emissions
               will peak around 2030 and then start to decline. Emissions in OECD
               nations are projected to fall by about 20 percent from 2014 to 2040.

   17. Documents and Communications concerning any research, study, and/or
       evaluation by Exxon and/or any other fossil fuel company regarding the Climate
       Change Radiative Forcing Effect of natural gas (Methane), and potential
       regulation of Methane as a Greenhouse Gas.

   18. Documents and Communications concerning Exxon's internal consideration of
       public relations and marketing decisions for addressing consumer perceptions
       regarding Climate Change and Climate Risks in connection with Exxon's offering
       and selling Exxon Products and Services to consumers in Massachusetts.

   19. Documents and Communications concerning the drafting and finalizing of text,
       including all existing drafts of such text, concerning Greenhouse Gas Emissions
       and the issue of Climate Change or Global Warming filed with the U.S. Securities
       and Exchange Commission (the "SEC") by Exxon, including, without limitation,
       Exxon's Notices of Meeting; Form 10­Ks; Form 10­Qs; Form 8­Ks; Prospectuses;
       Prospectus Supplements; and Free Will Prospectuses; and/or contained in any
       offering memoranda and offering circulars from filings with the SEC under
       Regulation D (17 CFR § 230.501, et seq.).

   20. Documents and Communications concerning Exxon's consideration of public
       relations and marketing decisions for addressing investor perceptions regarding
       Climate Change, Climate Risk, and Exxon's future profitability in connection
       with Exxon's offering and selling Securities in Massachusetts.

   21. Documents and Communications related to Exxon's efforts in 2015 and 2016 to
       address any shareholder resolutions related to Climate Change, Global Wanning,
       and how efforts to reduce Greenhouse Gas Emissions will affect Exxon's ability
       to operate profitably.
   22. For the time period from January 1, 2006, through the date of this production.
       Documents and Communications concerning Exxon's development of its program

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      for Sustainability Reporting addressing Climate Change and Climate Risk,
      including, without limitation, regarding Exxon's annual "Corporate Citizenship
      Report" and Exxon's "Environmental Aspects Guide."

   23. Documents and Communications concerning information exchange among Exxon
       and other companies and/or industry groups representing energy companies,
       regarding marketing of energy and/or fossil fuel products to consumers in light of
       public perceptions regarding Climate Change and Climate Risk.

   24. Exemplars of all advertisements, flyers, promotional materials, and informational
       materials of any type, including but not limited to web­postings, blog­posts, social
       media­postings, print ads (including ads on op­ed pages of newspapers), radio and
       television advertisements, brochures, posters, billboards, flyers and disclosures
       used by or for You, Your employees, agents, franchisees or independent
       contractors to solicit or market Exxon Products and Services in Massachusetts,
       including but not limited to:

          •   A copy of each print advertisement placed in the Commonwealth;
          •   A DVD format copy of each television advertisement that ran in the
              Commonwealth;
          •   An audio recording of each radio advertisement and audio portion of each
              internet advertisement;
          •   A copy of each direct mail advertisement, brochure, or other written
              promotional materials;
          •   A printout, screenshot or copy of each advertisement, information, or
              communication provided via the internet, email, Facebook, Twitter, You
              Tube, or other electronic communications system; and/or
          •   A copy of each point­of­sale promotional material used
              by You or on Your behalf.

   25. Documents and Communications sufficient to show where each of the exemplars
       in Demand No. 24 was placed and the intended or estimated consumers thereof,
       including, where appropriate, the number of hits on each internet page and all
       Commonwealth Internet Service Providers viewing same.

   26. Documents and Communications substantiating the claims made in the
       advertisements, flyers, promotional materials, and informational materials
       identified in response to Demand Nos. 22 through 24.

   27. Documents and Communications concerning Your evaluation or review of the
       impact, success or effectiveness of each Document referenced in Demand Nos. 22
       through 24, including but not limited to Documents discussing or referring in any
       way to: (a) the effects of advertising campaigns or communications; (b) focus
       groups; (c) copy tests; (d) consumer perception; (e) market research; (I) consumer

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      research; and/or (g) other study or survey or the reactions, perceptions, beliefs,
      attitudes, wishes, needs, or understandings of potential consumers of Exxon
      Products and Services in light of public perceptions of Climate Change,
      Greenhouse Gas Emissions, and Climate Risk.

   28. Documents sufficient to show Exxon's organizational stmcture and leadership
       over time, including but not limited to organizational charts, reflecting all Exxon
       Entities in any way involved in:

              (a) the marketing, advertisement, solicitation, promotion, and/or sale of
                  Exxon Products and Services to consumers in the Commonwealth;
                  and/or

               (b) the marketing, advertisement, solicitation, promotion, and/or sale to
                  investors of Exxon Securities in the Commonwealth.

   29. Documents and Communications sufficient to identify each agreement entered
       into on or after April 1, 2010, through the present, between and among Exxon and
       the Commonwealth of Massachusetts, its agencies, and/or its political
       subdivisions, for Exxon to provide Exxon Products and Services in
       Massachusetts.

   30. Documents sufficient to identify all claims, lawsuits, court proceedings and/or
       administrative or other proceedings against You in any jurisdiction within the
       United States concerning Climate Change and relating to Your solicitation of
       consumers of Exxon Products and Services and/or relating to Your solicitation of
       consumers of Exxon Securities, including all pleadings and evidence in such
       proceedings and, if applicable, the resolution, disposition or settlement of any
       such matters.

   31. Documents sufficient to identify and describe any discussion or consideration of
       disclosing in any materials filed with the SEC or provided to potential or existing
       investors (e.g., in prospectuses for debt offerings) information or opinions
       concerning the environmental impacts of Greenhouse Gas Emissions, including,
       without limitation, the risks associated with Climate Change, and Documents
       sufficient to identify all Persons involved in such consideration.

   32. Transcripts of investor calls, conferences or presentations given by You at which
       any officer or director spoke concerning the environmental impacts of
       Greenhouse Gas Emissions, including, without limitation, the risks associated
       with Climate Change.

   33. Documents and Communications concerning any subpoena or other demand for
       production of documents or for witness testimony issued to Exxon by the New

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      York State Attorney General's Office concerning Climate Change and Your
      marketing of Exxon Products and Services and/or Exxon Securities, including,
      through the date of Your production in response to this CID, all Documents
      produced to the New York State Attorney General's Office pursuant to any such
      subpoena or demand.

   34. Documents sufficient to Identify all other federal or state law enforcement or
       regulatory agencies that have issued subpoenas or are otherwise currently
       investigating You concerning Your marketing of Exxon Products and Services to
       consumers and/or of Exxon Securities to investors.

   35. Documents sufficient to Identify any Massachusetts consumer who has
       complained to You, or to any Massachusetts state or local consumer protection
       agency, concerning Your actions with respect to Climate Change, and for each
       such consumer identified, documents sufficient to identify each such complaint;
       each correspondence between You and such consumer or such consumer's
       representative; any internal notes or recordings regarding such complaint; and the
       resolution, if any, of each such complaint.

   36. Documents and communications that disclose Your document retention policies
       in effect between January 1, 1976 and the date of this production.

   37. Documents sufficient to Identify Your officers, directors and/or managing agents,
       or other persons most knowledgeable concerning the subject matter areas
       enumerated in Schedule B. below.

   38. Documents sufficient to identify all natural persons involved in the preparation of
       Your response to this CID.




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                                     SCHEDULE B

       Pursuant to the terms of this C1D, you are commanded to produce one or
more witnesses at the above­designated place and time, or any agreed­upon adjourned
place and time, who is or are competent to testify as to the following subject matter areas:

   1. Your compliance with Massachusetts General Law Chapter 93 A, § 2, and the
      regulations promulgated thereunder concerning, the marketing, advertising,
      soliciting, promoting, and communicating or sale of: (1) Exxon Products and
      Services in the Commonwealth and/or to Massachusetts residents; and (2)
      Securities in the Commonwealth and/or to Massachusetts residents.

   2. The marketing, advertising, soliciting, promoting, and communicating or sale of
      Exxon Products and Services in the Commonwealth and/or to Massachusetts
      residents, including their environmental impacts with respect to Greenhouse Gas
      Emission, Climate Change and/or Climate Risk.

   3. The marketing, advertising, soliciting, promoting, and communicating or sale of
      Securities in the Commonwealth and/or to Massachusetts residents, including as
      to Exxon's disclosures of risks to its business related to Climate Change.

   4. All topics covered in the demands above.

   5. Your recordkeeping methods for the demands above, including what information
      is kept and how it is maintained.

   6. Your compliance with this CID.




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                                     SCHEDULE C

CHAPTER 93A. REGULATION OF BUSINESS PRACTICES FOR CONSUMERS
                        PROTECTION

Chapter 93A: Section 7. Failure to appear or to comply with notice

Section 7. A person upon whom a notice is served pursuant to the provisions of section
six shall comply with the terms thereof unless otherwise provided by the order of a court
of the commonwealth. Any person who fails to appear, or with intent to avoid, evade, or
prevent compliance, in whole or in part, with any civil investigation under this chapter,
removes from any place, conceals, withholds, or destroys, mutilates, alters, or by any
other means falsifies any documentary material in the possession, custody or control of
any person subject to any such notice, or knowingly conceals any relevant information,
shall be assessed a civil penalty of not more than five thousand dollars.

The attorney general may file in the superior court of the county in which such person
resides or has his principal place of business, or of Suffolk county if such person is a
nonresident or has no principal place of business in the commonwealth, and serve upon
such person, in the same manner as provided in section six, a petition for an order of such
court for the enforcement of this section and section six. Any disobedience of any final
order entered under this section by any court shall be punished as a contempt thereof.




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                                    SCHEDULE D

See attached "Office of the Attorney General ­ Data Delivery Specification."




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     AFFIDAVIT OF COMPLIANCE WITH CIVIL INVESTIGATIVE DEMAND

State of

County of

I,                                        , being duly sworn, state as follows:

     1. I am employed by                               in the position of


     2. The enclosed production of documents and responses to Civil Investigative Demand
        2016­EPD­36 of the Attorney General of the Commonwealth of Massachusetts,
        dated April 19, 2016 (the "CID") were prepared and assembled under my personal
        supervision;

     3. I made or caused to be made a diligent, complete and comprehensive search for all
        Documents and information requested by the CID, in full accordance with the
        instructions and definitions set forth in the CID;

     4. The enclosed production of documents and responses to the CID are complete and
        correct to the best of my knowledge and belief;

     5. No Documents or information responsive to the CID have been withheld from this
        production and response, other than responsive Documents or information withheld
        on the basis of a legal privilege or doctrine;

     6. All responsive Documents or information withheld on the basis of a legal privilege
        or doctrine have been identified on a privilege log composed and produced in
        accordance with the instructions in the CID;

     7. The Documents contained in these productions and responses to the CID are
        authentic, genuine and what they purport to be;

     8. Attached is a true and accurate record of all persons who prepared and assembled
        any productions and responses to the CID, all persons under whose personal
        supervision the preparation and assembly of productions and responses to the CID
        occurred, and all persons able competently to testify:, (a) that such productions and
        responses are complete and correct to the best of such person's knowledge and
        belief; and (b) that any Documents produced are authentic, genuine and what they
        purport to be; and

     9. Attached is a true and accurate statement of those requests under the CID as to


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        which no responsive Documents were located in the course of the aforementioned
        search.




Signature of Affiant                            Date




Printed Name of Affiant


Subscribed and sworn to before me

this     day of          2016.   •




Notary Public
My commission expires:




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                     Office of the Attorney General - Data Delivery Specification
                                                         ONE - Production Load File

General
1.       I m a g e s p r o d u c e d t o t h e O f f i c e o f t h e A t t o r n e y G e n e r a l s h o u l d b e s i n g l e p a g e s e r i e s IV T I F F
         images, 300 dpi or better quality. TIFFs may be Black & White or color.
2.       Bates Numbers should be placed in t h e lower right hand corner unless t o do s o would
         obscure t h e underlying image. In such cases, t h e Bates number should be placed as near t o
         that position as possible while preserving the underlying image. Bates numbers should
         contain no spaces, hyphens or underscores. Example: AG0000000001.
3.       S p r e a d s h e e t s a n d P o w e r p o i n t ESI s h o u l d b e p r o d u c e d a s n a t i v e ESI a n d n a m e f o r t h e b a t e s
         n u m b e r a s s o c i a t e d w i t h t h e f i r s t p a g e o f t h e i t e m . If t h e i t e m h a s a c o n f i d e n t i a l i t y
         designation, please DO NOT append it t o the bates numbered file name. The designation
         should be stored in a field in t h e DAT.
4.       F o r a n y ESI t h a t e x i s t s i n e n c r y p t e d f o r m a t o r i s p a s s w o r d ­ p r o t e c t e d , i n s t r u c t i o n s o n m e a n s
         for access should be provided with the production to the AGO. (For example, by supplying
         passwords.)
5.       All r e c o r d s s h o u l d i n c l u d e a t l e a s t t h e f o l l o w i n g f i e l d s o f c r e a t e d d a t a :
         a. Beginning Bates Number (where TIFF Images are produced)
         b. Ending Bates Number
         c. Beginning Attachment Range
         d. Ending Attachment Range
         e . R e m o v e d F r o m : If r e c o r d s w e r e g l o b a l l y d e d u p l i c a t e d , t h i s f i e l d s h o u l d c o n t a i n a
              c o n c a t e n a t e d list o f a l l c u s t o d i a n s o r s o u r c e s w h i c h o r i g i n a l l y h e l d t h e i t e m .
         f. MD5 Hash or other hash value
         g. Custodian / Source
         h. Original file path or folder structure
         i.   FamilylD
         j.   Path/Link to natives
         k . P a t h / L i n k t o t e x t f i l e s (do not produce inline text in the dot file)
         I.   R e d a c t e d ­ Bit C h a r a c t e r f i e l d ( 1 o r 0 w h e r e l = Y e s a n d 0 = N o )
         m. Production date
         n. Volume name
         o. Confidentiality or other treatment stamps
6.       Email should be produced with at least the following fields of metadata:
        a.    TO
        b.    FROM
        c.    CC
        d.    BCC
        e.    Subject
        f.    P a t h t o t e x t f i l e (do not produce inline text in the dot file)


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                                Office of the Attorney General - Data Delivery Specification
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                   g.    Sent Date (dates and times must be stored in separate fields)
                   h.    Sent Time (dates and times must be stored in separate fields and without time zones)
                   i.    File extension (.txt, .msg, etc.)
                   j.    Attachment count.
             7.     eFiles should be produced with at least the following individual fields of metadata:
                   a.    Author
                   b.    CreateDate (dates and times must be stored in separate fields)
                   c.    CreateTime (dates and times must be stored in separate fields with no time zones or
                         am/pm)
                   d.    LastModifiedDate (dates and times must be stored in separate fields)
                   e.    LastModifiedTime (dates and times must be stored in separate fields with no time zones
                         or am/pm).
             8.     Deduplication (Removed From data field)
                   a.    If t h e p r o d u c i n g e n t i t y w i s h e s t o d e d u p l i c a t e , e x a c t h a s h v a l u e d u p l i c a t e s m a y b e
                         r e m o v e d o n a g l o b a l b a s i s if t h e p r o d u c i n g e n t i t y p r o v i d e s a f i e l d o f c r e a t e d d a t a f o r
                         each deduplicated item that provides a concatenated list of all custodians or other
                         sources where the item was original located. This list should be provided in t h e
                         RemovedFrom data field.
                   b.    Any other form of deduplication must be approved in advance by the Office of the
                         Attorney General.


  II.        File Types and Load File Requirements

        a.   File Types

Data: Text, images and native files should each be delivered as subfolders in a folder named "DATA".
See screen shot "Example Production Deliverable."

    •        I m a g e s : S i n g l e p a g e TIFF i m a g e s d e l i v e r e d i n a f o l d e r n a m e d " IM A G E S . "
    •        Text: Multipage text files (one text file per document), delivered in a folder named "TEXT."
    •        Natives: Delivered in a folder named 'NATIVES".


Load Files: Concordance format data load file and Opticon format image load file should be delivered in
a folder named LOAD (at t h e same level as t h e folder DATA in t h e structure). See screen shot "Example
Production Deliverable."




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                            Office of the Attorney General - Data Delivery Specification
                                                    ONE - Production Load File

   Example Production Deliverable

 M VOLOOl

   iiil DATA
      j . IMAGES
       J; NATIVES

       J. TEXT

      JJ LOAD

       b.   Fields to be Produced in ONE Data Load File - Concordance Format-

 Field Name                         Description/Notes

 BegBates                           Starting Bates Number for document

 EndBates                           Ending Bates Number for document

 BegAttach                          Starting Bates Number of Parent document

 EndAttach                          Ending Bates Number of last attachment in family

 FamllylD                           Parent BegBates

 Volume                             Name of Volume or Load File

 MDSHash

 Custodian_Source                   If the source is a human custodian, please provide the name: Last name, first name. If this results in
                                    duplicates, add numbers or middle initials Last name, first name, middle initial or # If the source is
                                    not a human custodian, please provide a unique name for the source. Ex: AcctgServer

 FROM                               Email

 TO                                 Email

 CC                                 Email

 BCC                                Email

 Subject                            Email

Sent Date                           Email

Sent Time                           Email

 File Extension

 Attch Count                        Email

 Doc Type                           Email, attachment

 Original FilePath                  Original location of the item at time of Preservation.

 FileName

 CreateDate                         Loose files or attachments. Date and Time must be In separate fields.

 CreateTime                         Loose files or attachments. Date and Time must be in separate fields and the Time field should not
                                    include Time Zone (EDT, EST etc)
 LastModDate                        Loose files or attachments (Date and Time must be in separate fields)

 LastModTime                        Loose files or attachments. Date and Time must be in separate fields and the Time field should not
                                    include Time Zone (EDT, EST, AM, PM etc)
 Redacted                           This is a Boolean/bit character field. Data value should be "0" or "1" where 0 = No and l=Yes.

 Confidentiality Designation        NOTE: Do not append the Confidentiality Designation to the native file name


 RemovedFrom                        Last name, first name with semi colon as separator
                                    Lastname, firstname; nextlastname, nextfirstname etc.

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 Encrypted_pwp                                 This is a single character field. Data value should be "N" or "Y". (File is or is not encrypted/password
                                                protected)
 EncryptKey_password                            For those files where Encrypted pwp is Y, provide password or encryption key information in this
                                               field.
 ProdDate                                       MM\DD\YYYY

 TextLink                                       path to the text files should begin with
                                               TEXT\
  Native Link                                   path to the native files should begin with
                                                NATIVES\


T h e D a t a l o a d f i l e f o r O N E i s t h e s a m e a s a C o n c o r d a n c e l o a d f i l e , w i t h t h e s a m e f i e l d d e l i m i t e r s () a n d
t e x t q u a l i f i e r s ([ D ). H e r e i s a s c r e e n s h o t o f p a r t o f a O N E l o a d f i l e w i t h t h e f i e l d s i d e n t i f i e d a b o v e :

,tBegBace3t,3l>Endaate3t>gt3BegActachl>1t)EndAttachtil3t>Faiid.lyir^fl}VoluiBet>1l3MD5Ha3htl{>Cu3Codian_Souicel>?l'FROMl>1t)XCi>1t>CCl3l|>BCCt?tSubjeccl>1t'Senc
                                                                                                                                                    Dace titSent Timet? t>File Excen3iQnt1t>Dt
tAG000004507t>l8tAG000004510t11tiAG000004507t>StAG000004512tillltAG000004507t1tVOL001t(llPt'flt>DQe, JohntiMotadQegsciiEeplace.CQnijiMdQeQsomewhereelse.CQmtfllpchebQsaeaoiEeplace.ccinitltt'ijtx
tAG000004511tfltAG000004512tltAG000004507tfltAG000004512tiltfl.G000004507t9tVOL001tflttitDc!e, johnt^MQhndQe@3QB;eplace.CQiitflt)jdoe93Citewhereel3e.CQii$1tthebas3@3Ciii:eplace.cQiLt,itt1ti


      c.     Fields required for an Images Load File - Opticon Format
             T h e I m a g e s l o a d f i l e f o r O N E i s t h e s a m e a s a n O P T I C O N l o a d f i l e . It c o n t a i n s t h e s e f i e l d s ,
             although Folder Break and Box Break are often not used.

 Field Name                          Description/Notes

 Alias                               imagekey/image link ­ Beginning bates or Ctrl number for the document

 Volume                              Volume name or Load file name

 Path                                relative path to Images should begin with
                                     IMAGES\ and Include the full file name and file extension (tif, jpg)
 Document Break                      Y denotes image marks the beginning of a document

 Folder Break                        N/A ­ leave blank

 Box Break                           N/A ­ leave blank

 Pages                               Number of Pages in document



H e r e is a s c r e e n s h o t o f a n o p t i c o n l o a d f i l e f o r m a t i n a t e x t e d i t o r w i t h e a c h f i e l d s e p a r a t e d b y a
comma. Alias, Volume, Path, Document Break, Folder Break (blank), Box Break (blank). Pages.

              AS000004S07,VOL001,IMaGES\00\ 0 0 \AG000004S07.IIF,Y/,, 4
              aG00000450S,VOL001,IMaGES\00\00\aG000004S08.IIF,,,,
              AG000004509,VOLOOl,IMAGES\00\00\RG000004509.IIF,,,,
              AG000004510,VOL001/IMAGES\00\00\AGOQ0004510.TIF,,,,
              AG000004511,VOLOOl,IMAGES\01\00\AG000004511,TIF,Y,,,2
              AG000004512,VOLOOl, IMAGES\01\00\AE000004512|.IIF,,,,


Technical questions regarding this specification should be addressed to:
                                                                             Diane E. Barry
                                                                  AAG / eDiscovery Attorney
                                                               Office of the Attorney General
                                                                       One Ashburton Place
                                                                          Boston MA 02108
                                                                 Diane.E.Barrv@state.ma.us
                                                                             (617)963-2120

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  Exhibit C


                                                            App. 052
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5121/2016 A. G. Schneiderman, Former Vice President AI Gore And A Coalition Of Attorneys General From Across The Country Announce Historic State-Based Effa ..
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                     Attorne General                                                                                                                  ft
                      Eric . Schneiderman                                                                                                    ~r;·~~~-E~·
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                                                                                                                New York City Press Office: (212) 416-8060

             A. G. Schneiderman, Former Vice President AI Gore And A                                            Albany Press Office: (518) 776-2427
             Coalition Of Attorneys General From Across The Country                                             nyag.pressoffice@ag.ny.gov
             Announce Historic State-Based Effort To Combat Climate
                                     Change
               Unprecedented Coalition Vows To Defend Climate Change Progress Made Under
             President Obama And To Push The Next President For Even More Aggressive Action                     A. G. Schneidennan Announces 20
                                                                                                                Felony Charges And Civil Suit Against
                                                                                                                Major New York City Landlord Steven
            Attorneys General From California, Connecticut, District Of Columbia, Illinois, Iowa,               Croman
            Maine, Maryland, Massachusetts, Minnesota, New Mexico, New York, Oregon, Rhode
               Island, Virginia, Vermont, Washington State And The US Virgin Islands Agree To                     A.G. Schneiderman Announce ...
                                                   Coordinate Efforts

             Schneiderman: Climate Change Is The Most Consequential Issue Of Our Time. This
            Unprecedented State-To-State Coordination Will Use All The Tools At Our Disposal To
                                             Fight For Climate Progress



                     A. G. Schneiderman, AI Gore And Coalition Of A. G.'s ...                                   A.G. Schneidennan-Led State & Federal
                                                                                                                Working Group Announces $5 Billion
                                                                                                                Settlement With Goldman Sachs

                                                                                                                  A.G. Schneiderman Announce ...




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                                                                                                                A.G. Schneidennan, Fonner Vice
                                                                                                                President AI Gore And A Coalition Of
                                                                                                                Attorneys General From Across The
                                                                                                                Country Announce Historic State-Based
                                                                                                                Effort To Combat Climate Change

            NEW YORK- Attorney General Eric T. Schneiderman today joined Attorneys General from                   A. G. Schneiderman, AI Gore An ..
            across the nation to announce an unprecedented coalition of top law enforcement
            officials committed to aggressively protecting and building upon the recent progress the United
            States has made in combatting climate change.


            Attorneys General Schneiderman, William Sorrell of Vermont, George Jepsen of Connecticut,
            Brian E. Frosh of Maryland, Maura Healey of Massachusetts, Mark Herring ofVirginia, and
            Claude Walker of the US Virgin Islands were joined by former Vice President AI Gore for the
            announcement in New York City. Today's announcement took place during a one-day Attorneys
            General climate change conference, co-sponsored by Schneiderman and Sorrell.

                                                                                                                 > Media Gallery
            The participating states are exploring working together on key climate change-related
            initiatives, such as ongoing and potential investigations into whether fossil fuel companies
            misled investors and the public on the impact of climate change on their businesses. In 2015,
            New York State reached a historic settlement with Peabody Energy- the world's largest publicly      Press Releases
            traded coal company- concerning the company's misleading financial statements and
            disclosures. New York is also investigating ExxonMobil for similar alleged conduct.                  > 2016

            Many of the states in the coalition have worked together on previous multi-state environmental          >January
            efforts, including pressing the EPA to limit climate change pollution from fossil-fueled electric       >February
                                                                                                                                        App. 053
http://www.ag.ny.gov/press-release/ag-schneiderman-former-vice-president-al-gore-and-coalition-attorneys-general-across                                                    1/3
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                                                                                                      Country 54  of 55
                                                                                                              Announce H ista"ic state-Based Effa..
            power planw, <lefending federal rules controlling climate change emissions from large industrial          > March
            facilities, and pushing for federal controls on emissions ofthe potent greenhouse gas methane
            emissions from the oil and natural gas industry.                                                       > 2015
            All of the members of the new coalition are pan a coalition of 25 states, cities and counties led by      > January
            Attorney General Schneiderman thatintervmed to defend the federal EnW'onmental Protection
                                                                                                                      > February
            Agency's "Clean Power Plan" against legal challenge. Today, theintervmers filed a brief with
            the DC Cireuit Court defending PresidentObama's Clean Power Plan rule, which establishes a                > March
            nationwide framework to achieve meaningful and cost effective reductions of carlxln-dioxide               > April
            emissions from power plants-the largest single sauree of greenhouse gas emissions in the
                                                                                                                      > May
            nation-and provides states and power plants flexibility to decide how best to achieve these
            reductions.                                                                                               > June
                                                                                                                      > July
            "With gridlock and dysfunction gripping Washington, itis up to the states to lead on the
            generation-defining issue of climate change. We stand ready to defend the next president's                > August
            climate change agenda, and vow to fight any efforts to roll-back the meaningful progress we've            > September
            made over the past eigbt:ymrs, • said Attorney General Schneiderman. "'ur offices are
                                                                                                                      > October
            seriously eKamining the potential of working together on high-impact, state-level initiatives,
            such as investigations into whether fossil fuel companies have misled investors about how                 > November
            climate change impacts their investments and business decisions."                                         > December

            "We cannot continue to allow the fossil fuel industry or any industry to treat our atmosphere like     >2014
            an open sewer or mislead the public about the impact they have on the health of our people and
            the health of our planet Attumeys General and law enforeement officials ai'Oillld the country             > January
            have long held a vital role in ensuring that the progress we haw made to solve the climate crisis
                                                                                                                      > February
            is not onlyprurecred, but advanced. The first-of-its-kind coalition annuunced tudayis another
            key step on the path tu a sustainable, clean-energy future, • said Viee President AI Gore.                > March
                                                                                                                      > April
            Vermont Attorney General William SorreJlsaid, "We are happy tu have worked closely
                                                                                                                      > May
            with New York tu organize this meeting. As we all know, global warming, ifnot reversed, will
            be catastrophic fur our planet We, the states, have a role tu play in this endeavor and intend tu         > June
            doourpart•
                                                                                                                      > July
                                                                                                                      > August
            "The states representedheretoday have long been working tu sound the alarm, to put smart
            policies in place to speed our transition to a clean energy future, and to stop power plants from         > September
            emitting millions of tons of dangerous global warming pollution into our air, • said
                                                                                                                      > October
            MassachUIIett8 Attorney General Maura Healey. "'n Massachusetts, wltre a leader in
            clean energy and together we're taking a thoughtful, aggressive approach to ensuring our
                                                                                                                      > November
            planet's health fur generations to come. •                                                                > December

            Connecticut Attorney General George .Jepsen, said "I ant delighted tu meet with so many
            thoughtful leaders tu strategize on ways we can protect our citizens from the greatest threat we       Archived
            collectively face, climate change. I ant proud tu have worked with them and others in defending
            the Obama Administration's action tu combat global warming, and look forward tu discussing             > 2013
            bow we can best further that important work. I also appreciate the opportunitytu discuss               > 2012
            potential future efforts, including the merits of possible joint investigations in this important
                                                                                                                   > 2011
            area."
                                                                                                                   > 2010
            U.S. Virgin IalandaAttorneyGeneral Claude Earl Walker said, "The Virgin Islands,                       > 2009
            which is especially vulnerable to environmental threats, has a particular interest in making sure      > 2008
            that companies are honest about what they know about climate change. We are committed to
            ensuring a fair and transparent market where consumers can make infonned choices about
                                                                                                                   > 2007
            what they buy and from whom. IfExxonMobil has tried to cloud their judgment, we are                    > 2006
            determined to bold the company accountable. •                                                          > 2005
                                                                                                                   > 2004
            Maryland Attorney General Brian E. Frosh said, "Climate changes poses an eKistential
            threat tu Macyl.and and tu the nation. I am proud tu join with my colleagues across the cuunlly
                                                                                                                   > 2003
            in this important collaboration, and am willing tu use erery tool at our collectiw disposal tu         >2002
            protect our air, our water and our natural resources. The pledge we are making today can help          >2001
            insure a cleaner and safer future. •                                                                   > 2000
            Virginia Attorney General Mark Herrin& said, "As a Commonwealth and as a nation, we
                                                                                                                   > 1999
            can't just put our heads in the sand because we are already confronting the realities of climate       > 1998
            change. Hampton Roads is our Commonwealth's second most populated region, it's our second
            biggest economy, and itis the second most vulnerable area in the entire cuunlly as climate
            change drives continued sea-level rise. State government, local governments, and the military
            are spending millions to prepare fur this challenge, and even more significant investment and
            resiliency measures will be required. I'm proud to have Virginia included in this first-of-im-kind
            coalition, which recognizes the reality and the pressing threat of manmade climate change and
            sea level rise. I'm looking forward to working with my colleagues tu explore opportunities tu
                                                                                                                                    App. 054
h!Jp://www.ag.ny.gov/press-release/ag-sctYleiderman-former-vice-president-al-gore-!Wld-coalition-alta"neys-general-across                       2/3
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5121/2016 A. G. Schneiderman, Former Vice President AI Gore And A Coalition Of Attorneys General From Across The Country Announce Historic State-Based Effa ..
               address climate change, encourage the growth of our clean energy sectors, and build a cleaner,
               more sustainable future."

            "Taking additional steps to reduce carbon pollution will keep us moving toward cleaner air, a
            healthier environment, and more affordable energy," said Illinois Attorney General Usa
            Madigan. "llook forward to continuing to work with other states to advance the Clean Power
            Plan, as well as to advocate for a comprehensive portfolio of renewable energy sources and
            enhancements to energy efficiency programs."

               "Climate change has real and lasting impacts on our environment, public health, and the
               economy, " said California Attorney General Kamala D . Harris. "California has been a
               national leader in fighting to reduce greenhouse gas emissions, and I am proud to join this effort
               to preserve and protect our natural resources for future generations to come."

            Maine Attorney General Janet Mills said, "Our natural resources are the lifeblood of our
            state's economy and our quality oflife. Global climate change demands immediate action and I
            am committed to using the authority of my office to address the problem in a meaningful way by
            defending important EPA regulations against attacks led by the coal industry and exploring
            litigation options that will hold the worst polluters accountable for their actions."

            "Washington is mired by political gridlock. We cannot sit back and watch the dysfunction while
            nothing gets done, or worse, Washington rolls back the progress we have made in the recent
            pastto address the issue of climate change. If Washington is not going to step up and recognize
            the crisis and find meaningful solutions, then it will be up to the states to do so," said Rhode
            Island Attorney General Peter F. Kilmartin. "As a state that will incur significant negative
            impacts from global climate change, including sea-level rise and increased flooding, Rhode
            Island is committed to continuing the fight for common-sense regulation of greenhouse gas
            emissions from power plants and other large emitters."

            "Washington State has long made protecting our environment a top priority," Washington
            State Attorney General Bob Ferguson said. "A problem like climate change is bigger than
            any one state. I look forward to working with the coalition on innovative solutions to combat
            and reverse the harmful effects of climate change."

            "Our office has a mandate to protect the public interest, and this includes ensuring that our
            community is not negatively affected by preventable climate change. We welcome this crucial
            state-to-state cooperation to ensure that we do everything we can to fight the causes of climate
            change regardless ofwhetherthefederal government continues to partner with us in these
            efforts or not," said Distriet of Columbia Attorney General Karl Racine.

            "We have been impacted by climate change, and we see its drastic effects in New Mexico---
            extreme drought, increased risk of severe forest fires, and the ruin of our wildlife and natural
            habitats," Attorney General Balderas said. "Our efforts will ensure that progress is made on
            climate change and that the public is fully aware of the effects on the health and well-being of
            New Mexico families," said New Mexico Attorney General Hector Balderas.



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           Executive                   Criminal Justice              Economic Justice                Social Justice       State Counsel              Administration
        Community and                 Criminal Enforcement &           Antitrust Bureau             Charities Bureau      Civil Recoveries Bureau     Budget & Fiscal
        Intergovernmental             Financial Crimes Bureau          Consumer Frauds              Civil Rights Bureau   Claims Bureau               Management Bureau
        Affairs                                                        Bureau                                                                         legal Recruitment
                                      Organized Crime                                               Environmental         lrtigation Bureau
        FOIL                          Task Force                       Internet Bureau                                                                Human Resources
                                                                                                    Protection Bureau     Real Property Bureau
        Press                         Medicaid Fraud                   Investor Protection          Health Care Bureau    Sex Offender
        Reg ion aI Offices            Control Unit                     Bureau                       labor Bureau          Management Bureau
        Solicitor General             Public Integrity Bureau          Real Estate Finance          Tobacco Compliance
        Criminal Appeals              Investigations Bureau            Bureau                       Bureau
        and Opinions                  Taxpayer Protection
                                      Bureau
                                      Convrctlon Review
                                      Bureau


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